      Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 1 of 100 Page ID #:1296


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                 2 ALIS N M. NORRIS(SBN 248711)
                   anorras goodwinpr-octer.com
                 3 SHA A M. R.AMSOWER(SBN 272430)
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                 5 Los Ange1es, California 90017                                  ~~Y`       ~~,
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                                                                                             r~
                                                                                             ry
                                                                                             a        ("
                 7 Attorneys for Defendants:                                   -A~`~          -e7
                   EverHome Mortgage Company, sued in that                     ~~~            =~      ~
                 g name and as Alliance Mortgage Company                         `'~
                                                                                 -n'=~~      ~
                   dba BNY Mortgage                                    E         ~-  J       .~--
                 9                                                     G        :~~          c,

                10                    UNITED STATES DISTRICT.COURT

                11                   CENTRAL DISTRICT OF CALIFORNIA

         n      12                          SOUTHERN DIVISION
      o$
  `'~'°~        13                                                                                  STS
   ~~   'L           NATIONAL ORGANIZATION OF          Case No.~~1' L I DD ~z-2
     -~ =
   o ~_         14   ASSISTANCE FOR HOMEOWNERS a
  a ou               Non-Profit Homeowner Organization NOTICE OF REMOVAL
  ~° ; ~        15   representin Individual Members;
  ~3 ~°° °~°°
  '                  JAIME A~O;FRED AGUILAR;
                     DIVINA ARAGON; AR.ACELI           Removed from Oran e Coun
         d      16                                     Superior Court CaseNo. 30-2011-
  ~~~                ARREOLA; BRUCE BANH; ROGER        OO~i47677-CU-OR-CXC
                17   BARROW;PATRICIA
                     CAMPOVERDE;PAULINE CANAS;
                18   RUSTICO CORPUZ; ANTONIO
                     CUELLAR; TRAN DAO;THOMAS
                19   DIEP; DARIO DRAKE; ARNOLD
                     DYSICO; LYDIA EDEJER; DELFIN
                2p   FAVORITO; JAIME GUINTO;
                     CARMEN GUTIERREZ; BEATRICE
                21   HERNANDEZ; TRACY HO; SUSAN
nI S                 HOANG; DE HUYNH;FELIPE R
~~              22   LOPEZ; MARIO LOPEZ; CHRISS
                     NGUYEN; NORA ORTEZA; ROSITA
                23   QUIJADA; LYNN RAMOS;
                     MILAGROS REOTUTAR; MOISES
~~              24   RODRIGUEZ; CESAR SOLLA•
                     HUMBERTO TORRES ARRE~LA;
                25   KHEO TRAN• MARIA TRUJILLO;
                     RAFAEL VASQUEZ; ANA CALMA;
                26   FRANCISCO UBANA;JUAN
                     BALTAZAR;TOMMY ENCINAS;
                27   SALVADOR BASING; BRUCE
                     BANH;BOBBY CABESAS;
    ~r          28   EDUARDO FERRER• MARIA


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     Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 2 of 100 Page ID #:1297




                     CORTEZ; ALAOLU AKANDE~
                     EFREN AND VICTORIA R.AIV~IN•
                  2 EMERITA C. ROSS; KHI.OELJNCi
                     YOU; JOSE CRUZ; RACHEL
                     LICUANAN; ALBERT SANFORD;
                     JESUS OROZCO; MICHAEL
                  D MCCARTHY; MODESTO JAOJOCO;
                     GEORGE ROXAS;EDEN HERRERA;
                  5 JAY McREYNOLDS;RAMON
                     QUIZON; BULMARO
                     MALDONADO; RODITHA
                     CAMACHO• IGRID AGRA• MARIA
                     LOURDES ~EBREROS; LTA
                     BAUTISTA; EVANGELINE
                     BRIGHAM~ ARTHUR LINDSEY;
                     FELICIDA~ DIAZ• MARIANO
                     PINEDA; RODOL~O CAIREL;
                    PLINYLOU FONDEVILLA;
                 T MARIANO TADEO; MANUEL
                     HERNANDEZ; JOSE MENDEZ•
                     MARIA GARCIA; CARLITO B~JGAS.
                    KATHRYN COWAN; MIRIAM
     0          12 ZUNIGA;PATRICIA DOMIIVICUS;
     0              ISABEL FERNANDEZ• GLORIA
a
a    N    .~    13 ENRIQUEZ• JOSELITd FABIONAR
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     'V              WILFREDb FUNTATTILLA;
u    ♦1.
       w~       14 ROSELLYN ROQUE; VIRGINIA
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o.        U         SEBASTIAN; SEMEN OCHOA;
~3        d
          d
                15 DANNY GARO; ALLISON GORE;
     y
     A              CECILIO GONZALEZ; MANOLO
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          à    16 GONZALES ;JEANNIE HA; TIN
          0
          a         NGUYEN; ROEL VILLANUEVA;
                17 NICOLAS GARCIA; NANSHI
                    IGNACIO; AUGUSTO PAGTAKHAN;
                18 RENATO VIRAY; ALICIA
                    CORNEJO;PABLO KISLANKA;
                19 SUZANNE LOBATO;ZEN MAE
                    HARRINGTON; HIEU NGUYEN;
               20 XIONGH THAO;BOUA THAO;
                    MICHAEL PHAN;IRINEO PADILLA;
               21 MANUEL VILLANEDA;
                    CASSANDRA ANDRES;
               22 GUADALUPE GALVEZ; CELESTE
                    RODGERS; JUDY BARTOLOME;
               23 ALLEN RICHARDSON; R.AMDN
                   [ILAN; CICERO VILLACORTA;
               24 MARIA ESQUIVIAS; JENNIFER
                    FABIA; ROBERTO de ALBA;
               25 MARTHA VARGAS; VIRGiLIO
                    VILANO; JOSE BALLESTEROS;
               26 vIERLITA LAVARIAS• VIOLETA
                    VIARTINEZ; RICARDb ALATORRE;
               27 JAN HANG; ASCENCION
                   i ARRILLO; ANTONIO FLORES;
                   ,
               28 ANGEL MEDINA; COCKY BULL;


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               VIRGINIA PANTALEON• JUAN
              MANUEL NUNEZ; ARA~ELI
               ABELEDA; THOMAS VUONG;
              SALVADOR TELLO; AUGUSTIN
              LUGUE; BENJAMIN CAPA;PAZ
              VERANO• SEUNG HEE LTM; MARIA
              LOURDES MAGLUPAY;OSARO
              IKHYWUREFE; MARGARET NIBA;
              DIEP PHAM; ANHTHU PRAM; TRI
              MINH PRAM;NELSON AVILA;
              LOUELLA D. MANZANO; VICENTE
              M. VENTIrTILLA; NORIEL P.
              ADRICULA; FRANK M. CARDENAS
              III; KATHIE L. CALLAHAN;
              MICHAEL J. DELVAUX;JENNIE
              DO; VI THI THONG LUU;
              CHRISTOPHER MORRIS; THUY
              THANH NGUYEN;rTINA & CHIEU
        10    VAN NGUYEN; JOSE R. RAMIREZ;
              YEN K. HUYNH; SEE JUN KIM; KI
              W. JANG; BALDOMERO A.
              FERRANCOL;TUAN DUC NGUYEN;
  0~ r 12     WILLIAM THOMAS; MARIVIC
              DTJENAS; DEISSY GONZALEZ;
a ~g 13
  N
              JOHNNY ABONALES; JAVIER
~ ~ ~a        A~UILINO; NORMAN DELA CRUZ;
~ ~ = 14     RA AEL FIGUEROA; WILLIAM
a o v        GUILLEN; JEFFREY SISON• FRANK
`° d 15      MACIAS; ENRIQUE C.PER~Z;
b ~~         SIMEON REYES JR.; TRAN TRAN;
~ ~ a 16     TESSIE RODRIGUEZ; JOSEPHINE
             CASTANAR; DAVID EMMANUEL;
        17   MARK SMITH; NAM BINH
             NGUYEN; CHAD WIN TINE;
        18   ERNESTO GO;ZOILA SANCHEZ;
             ANTHONY MABUTOL;ELEANOR
        19   LICUP; ARTHUR QUR.EISHI• ANA
             ZAVALA• MARY JEAN PIS~O;
        20   ANTONIO ALVE;SANG WOO SEOL;
             DULCE ALVAREZ; ANNABENA
        21   SANTOS;PATRICIO SULIT;
             MARTIN ABOY; DANIEL SIEU;
        22   JERROLD LLOPIS; NANCY HYSON;
             BRYAN BA; individuals; on behalf of
        23   themselves and all others similarly
             situated; ROES 143 through 5000;
        24   inclusive,
                         Plaintiffs,
        25
                    v.
        26   AMERICA'S SERVICING
             COMPANY,an Iowa corporation;
        27   AMERICAN HOME MORTGAGE
             SERVICING,INC., a Delaware
        28


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                     corporation; SELECT PORTFOLIO
                     SERVICING, a Utah corporation; ING
                     DIRECT,a Delaware corporation;
                     BANK UNITED,FSB,a corporation;
                     OPTION ONE MORTGAGE,a
                     co oration; PEOPLE's CHOICE
                     HO~ LOAN INC; a corporation•
                     BENEFICIAL CALIFORNIA INCZ,a
                     corporation; HSBC MORTGAGE
                     CORPORATION• GATEWAY BANK;
                     PHH MORTGAGE;CENLAR LOAN
                     ADMII~IISTRATION; BAYVIEW
                     LOAN SERVICES; FIRST FEDERAL
                     BANK of CA; FIRST FRANKLIN
                     LOAN SERVICES; SOVEREIGN
                     BANK; MIDWEST LOAN SERVICES;
                     UNION BANK;BANCO POPULAR;
                    N.A.; PROVIDENT FUNDING
               T     ASSOCIATES; EVERHOME
                     MORTGAGE COMPANY; AEGIS
                     WHOLESALE CORP.• WILSHIRE
                    CREDIT LJNI~N• TM~T HOME
  `o
               12   LOANS,INC; NATIONSTAR
a 0                 MORTGAGE,LLC; MOR EQUITY;
a
a         .~   13   FREEDOM MORTGAGE
     a              CORPORATION; CARRINGTON
u         w
         .~    14   MORTGAGE SERVICE;LONG
4        U          BEACH MORTGAGE CO.;
~3             15   SiJNTRUST MORTGAGE INC.; PNC
0                   FINANCIAL SERVICES; CATHAY
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, d
~              16   BANK;HOMECOMINGS
         J          FINANCIAL,LLC; QUANTUM
               17   SERVICING CORP.; SPECIALIZED
                    LOAN SERVICING,LLC; RCS;
               18   VERICREST FINANCIAL,INC;
                    RESMAE MORTGAGE CORD; CMS;
               19   DESERT COMMUNITY BANK;
                    CALDIRECT HOME LOAN•
               20   GREENPOINT MORTGAGE
                    FUNDING,INC; METLIFE HOME
               21   LOANS; MIRAD FINANCIAL
                    GROUP; VANDERBILT
               22   MORTAGAGE; CAPITALONE
                    MORTGAGE; FIRST FEDERAL
               23   BANK; GE MONEY BANK;
                    UNIVERSAL AMERICAN
               24   MORTGAGE COMPANY OF CA;
                    BRENWARD MORTGAGE;
               25   BAYROCK MORTGAGE
                    CORPORATION;FLAGSTAR BANK;
               26   ASTORIA FINANCIAL LLC;
                    MATRIX FUNDING GROUP,LLC;
               27   TAYLOR BEAN & WHITAKER
                    MORTGAGE CORP.; ACCREDITED
               28   HOME LENDERS,INC.; FIRST


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     Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 5 of 100 Page ID #:1300




          1 NATIONAL BANK; FIRST
            NATIONAL BANK OF ARIZONA;
         2 NATIONAL CITY MORTGAGE;
            AMARILLO NATIONAL BANK;
         3 CENTER BANK; SECURED
            FUNDING CORP.; NEW CENTURY
         4 MORTGAGE; ALLIANCE
            MORTGAGE COMPANY dba BNY
         5 MORTGAGE; AMERICAN
            MORTGAGE EXPRESS CORP.;
         6 SIERRA PACIFIC MORTGAGE,INC;
            MIDLAND MORTGAGE CO.•
         7  REPUBLIC    MORTGAGE; CI~EVY
            CHASE BANK; UNITED
         8 COMIV~RCIAL BANK;HANMI
            BANK RESIDENTIAL MORTGAGE;
        9 MARIX SERVICING; FIRST
            FRANKLIN FINANCIAL; NGBI,INC;
       10 ARGENT MORTGAGE; MIT
            LENDING; RBMG,INC. and Does 1 to
       1 1 1000, inclusive,
                       Defendants.
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      Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 6 of 100 Page ID #:1301




                    1               Defendant EverHome Mortgage Company, which has been sued in that name
                 2 and as Alliance Mortgage Company dba BNY Mortgage,("Defendant" or
                 3 "EverHome")hereby removes the above-captioned case, Case No. 30-2011-
                 4 00447677-CU-OR-CXC, currently pending in the Superior Court of California,
                 5 County of Orange (the "State Court Action"), to the United States District Court for
                 6 the Central District of California, Southern Division. As grounds for removal,
                 7 Defendant states as follows:
                 8 I.              BACKGROUND
                9                   1.     The Plaintiffs in this action include the National Organization of
                10 Assistance for Homeowners("NOAH")and 206 individual plaintiffs ("Individual
                1 1 Plaintiffs")(collectively,"Plaintiffs"). See First Amended Complaint("FAC"), at
      V   ~     12 pp. 1-3 (caption)& ¶¶ 5-211.1 According to the FAC,Individual Plaintiffs are
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      N   R     13 borrowers who have sued Defendants after defaulting on their loan obligations, and
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  ~ ~~- 14 NOAH is an organization purporting to be a nonprofit corporation operating for
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  '   °' 15 educational and charitable purposes. Id. The loans of Individual Plaintiffs are
          ui
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               16 secured by real property pursuant to deeds of trust. Id.
          J
               17                 2.       The initial complaint("Complaint") in this case was filed by many of
               18 the same Plaintiffs in the current State Court Action in the Superior Court of the
               19 State of California, County of Orange, Case No. 30-2011-00447677-CU-OR-CXC,
               20 on or about February 7, 2011. The Complaint is attached hereto as Exhibit 1.
               21       Plaintiffs then filed their FAC on or about March 11, 2011. The FAC is attached
               22 hereto as Exhibit 2. All ofthe pleadings and papers filed in the State Court Action
               23 are attached hereto as Exhibit 3.
               24                 3.       The FAC purports to assert causes of action for fraudulent concealment
               25 (First Cause of Action), intentional misrepresentation (Second Cause of Action),
               26 negligent misrepresentation (Third Cause of Action), violation of California Civil
               27
                       ~ The FAC includes ROE plaintiffs, 120-5000, but unnamed parties are ignored
               28 for removal purposes.


                        .I Q W/1779028.3                              1
     Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 7 of 100 Page ID #:1302




                1 Code section 2923.5 (Fourth Cause of Action), violation of California's Unfair
             2 Competition Law ("UCL"), Business &Professions Code §§ 17200, et seq (Fifth
             3 Cause of Action), and breach of contract(Sixth Cause of Action). Id., p. 1.
             4 Plaintiffs seek relief in the form of damages, declaratory judgment that Plaintiffs'
             5 notes and mortgages are void, injunctive relief, "statutory relief' and restitution
             6 pursuant to Civil Code section 2923.5, attorney's fees, costs, and pre- and post-
             7 judgment interest. FAC, at p. 94 (Prayer for Relief.
             8            4.     As Defendant demonstrates below, this Court has subject matter
             9 jurisdiction over this action under 28 U.S.C. section 1332, as amended by the Class
            10 Action Fairness Act("CAFA").
            11    IL      THIS COURT HAS SUBJECT MATTER ~TURISDICTION UNDER CAFA

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            12            5.     Under 28 U.S.C. section 1332(d)(11), as implemented by CAFA,a
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a we
-~~~ 13 "mass action" is removable as a "class action" to the appropriate United States
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 ~ ~' 14 District Court when(1)the litigation involves monetary claims brought by 100 or
a,   o U
 C   d ~ 15 more persons proposed to be tried jointly;(2)such claims involve common
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           16 questions of law or fact;(3)all other requirements of 28 U.S.C. section 1332(d)(2)-
     b a

           17 (10) are met, including the requirement that the aggregate amount in controversy
           18 exceeds the sum or value of $5,000,000, exclusive of interest and costs; and (4) at
           19 least one ofthe plaintiffs' claims exceeds the $75,000 jurisdictional threshold for
           20 federal diversity jurisdiction under section 1332(a). 28 U.S.C. §§ 1332(d)(11)(A),
           21 (B); Abrego Abrego v. Dow Chemical Co., 443 F.3d 676,689(9th Cir. 2006);
           22 Tanoh v. Dow Chem. Co., 561 F.3d 945,952 n.4 (9th Cir. 2009 ). This case is a
           23 removable "mass action" under the provisions of CAFA.
           24                       Monetary Claims Brou t by 100 or More Persons.
           25            6.      The FAC alleges that 207 Plaintiffs are entitled to recover monetary
           26 damages(and other relied for the time period of2002 to 2007. See FAC ¶¶ 6-211,
           27 & p. 94(prayer for relief). It also demands a jury trial on their collective behalf.
                 Id., p. 2. Thus, the FAC is brought by more than 100 plaintiffs seeking monetary


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                   1 ~ damages and who propose to try the case jointly. See Bullard v. Burlington No.
                2 ~ Santa Fe Rwy. Co., 535 F.3d 759, 762(7th Cir. 2008)(affirming the district court's
                3 conclusion that "one complaint implicitly proposes one trial")
                4                                Common Questions of Law or Fact.
                5            7.      Although Defendant does not concede that such common questions
                6 exist, the FAC explicitly claims to arise from a set of"common facts"(FAC ¶ 239),
                7 including that(i) all ofthe Defendants allegedly deceived Plaintiffs to enter into
                8 loans they acquired or now service;(ii) the Defendants purportedly engaged in the.
                9 "fraudulent and illegal" use of MERS in connection with those loans; (iii.) the
               10 Defendants purportedly failed to perform their obligations in connection with certain
               1 1 contracts with third parties;(iv)the Defendants purportedly breached the Plaintiffs'
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               1~ statutory rights, consumer and homeowner protection statutes, the UCL,and other
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a~]~ a
^    H   LQ    13 statutes, and (v)the Defendants allegedly accepted money, transferred assets, and
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               14 foreclosed upon assets in instances when they had no authority to act. See FAC ¶¶
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               15 1,241-251, 255, 257, 268, 275-278, 288-292.
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               16                       Requirements of 28 U.S.C. section 1332(d~L(10~.
     C   0


              17            8. Minimal Diversity. The requisite minimal diversity of citizenship exists
              18 under section 1332(d)(2) because at least one plaintiff is a citizen of a state different
              19 from at least one defendant.
              20            9. On information and belief, Plaintiff Jamie Acio is a California citizen. Id.
              21 ¶ 6. Plaintiff Acio alleges that he is "residing in the State of California", that the
              22 loan at issue is on his residence and Defendants are attempting to dispossess him of
              23 his residence, and that he seeks to stop foreclosure on this property. Id. ¶¶ 3-4, 6,
              24 358-365. As such, the FAC demonstrates Plaintiff is a citizen of California.
              25            10.     On information and belief, 190 other Plaintiffs are also California
              26 citizens. In each case, the FAC alleges that these 190 individuals reside in the State
              27 of California, that a loan at issue is on his or her residence and Defendants are
              28 attempting to dispossess him or her ofthe residence, and that he or she seeks to stop


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                      1 foreclosure on this property. Id., ¶¶ 3-4, 6-149, 154-157, 160, 162-167, 169-177,
                   2 179, 181-182, 184-185, 188-194, 196-200, 202, 204-205, 207-211, 358-365. As
                   3 I such, the FAC demonstrates that these 190 other Plaintiffs are all citizens of
                   4 California.
                   5               1 1.    On information and belief, the remaining 16 Plaintiffs are citizens of
                   6 Nevada, Mississippi, Arizona, Florida, Maryland, Illinois, or Virginia. In each case,
                   7 the FAC alleges that these 16 Plaintiffs reside in one ofthose seven states, that a
                   8 loan at issue is on his or her residence and Defendants are attempting to dispossess
                   9 him or her of the residence, and that he or she seeks to stop foreclosure on this
                  10 property. Id., ¶¶ 3-4, 150-153, 158-159, 161, 168, 178, 180, 183, 186-187, 195,
                  1 1 201, 203, 206, 358-365. As such, the FAC demonstrates that these 16 Plaintiffs are
      L ~
      O p
                  12 citizens of one of those seven states.
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a ~.~
"'~   ~ri.   R    13              12.     Defendant Alliance Mortgage Company dba BNY Mortgage is now
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 ~ ~= 14 known as EverHome Mortgage Company and is Defendant EverHome Mortgage
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                  15 Company. Defendant EverHome Mortgage Company is incorporated in Florida and
   'w en
   ~a~, 16 with its principal place of business in Jacksonville, Florida. See Declaration of
v~ -
   ~a°
        17 Alice Gronert ¶ 3, attached as Exhibit 4. Thus, for citizenship purposes, EverHome
                 18 is a citizen of Florida. 28 U.S.C. § 1332(c)(1).
                 19               13.     At Least $5,000,000 in Controversy. Although Plaintiffs do not plead a
                 20 specific damages amount, there is more than $5,000,000 in controversy in this
                 21 action. Under 28 U.S.C. section 1332(d), as amended by CAFA,the amount in
                 22 controversy in a putative class action (defined to include a "mass action" such as
                 23 this one)is determined by aggregating the amount at issue in the claims of all
                 24 members of the putative class. 28 U.S.C. § 1332(d)(6).
                 25              14.      Plaintiffs plead that they are entitled not just to general compensatory
                 26 damages, but also punitive damages, attorneys' fees, injunctive relief, and a
                 27 judgment declaring that the mortgages are "void." FAC, p. 94(prayer for relied.
                 28 The aggregate value ofthese forms of relief, as a matter oflaw, all count toward the


                       .IBVV/I 779028.3
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                    1 $5,000,000 jurisdictional amount. 28 U.S.C. § 1332(d)(6}; Amezcua v. Cellco
                 2 Partnership, No. 08-cv-04390,2009 WL 1190553, at *3(N.D. Cal. May 3, 2009)
                 3 (punitive damages); Brady v. Mercedes-Benz USA; Inc., 243 F. Supp. 2d 1004,
                 4 1010-11 (N.D. Cal. 2002)("a reasonable estimate of fees likely to be incurred to
                 5 resolution" counts toward the amount in controversy); Cohn v. PetSmart, Inc., 281
                 6 F.3d 827, 840(9th Cir. 2002)(injunctive relied; Century Sur. Co. v. J Quinn
                 7 Constr., No. CV 09-06085 DDP(JEMx),2010 U.S. Dist. LEXIS 11883, at *8-9
                 8 (C.D. Cal. Jan. 20, 2010)(declaratory relied.
                 9            1 5.   First, at minimum,the amount in controversy is at least each Plaintiffs
                10 outstanding principal balance that they seek to void (in addition to Plaintiffs' claims
                1 1 for actual damages, statutory damages, punitive damages, restitution, and attorney's
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  00
                12 fees). FAC, p. 1 ("including declaratory and injunctive relief to void mortgage"), 94
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ah     13 (prayer for relied. It is well-established that where a plaintiff seeks declaratory or
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       14 injunctive relief, the amount in controversy for removal jurisdiction purposes is
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Gr
  d ~ 15 measured by the value ofthe object of the litigation. Cohn v. Petsmart, 281 F.3d
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v ~ a 16 837, 840(9th Cir. 2002); accord Hunt v. Wash. St. Apple Adver. Comm'n,432 U.S.
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               17 333,347(1966). Where, as here, a Plaintiff effectively seeks rescission or
               18 invalidation ofa note and mortgage (or deed of trust), the object of the litigation is
               19 the loan. Olander v. ReconTrust Corp., No C 11-177-MJP, 2011 WL 841313, at *2
               20 (W.D. Wash. Mar. 7, 2011); Ngoc Nguyen v. Wells Fargo Bank, N.A., No. G 10-
               21     4081-EDL,2010 WL 4348127, at *5-6(N.D. Cal. Oct. 27, 2010). As such, the
               22 value ofthe relief of rescission or invalidation may also be measured by the current
               23 outstanding principal amount ofthe loan. See Olander, 2011 WL 841313, at *2-3;
               24 Garcia v. Citibank, N.A., No. 2:09-CV003387-JAM-DAD,2010 WL 1658569, at *2
               25 (E.D. Cal. Apr. 23, 2010).
               26            16.     Here, although Defendants do not concede that Plaintiffs allegations are
               27 accurate, three Plaintiffs allege a relationship with EverHome. FAC ¶¶ 100, 173,
                     210. The current outstanding loan balances for these three Plaintiffs total


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                1 0 approximately $774,251. See Declaration of Alice Gronert("Second Gronert
             2 I Declaration") ¶¶ 6-8, attached as Exhibit 5.
             3              17.    Thus, the outstanding loan principal ofthe remaining 203 Individual

             4 Plaintiffs need only be $4,225,749, or approximately $20,817 each, to meet the
             5 $5,000,000 threshold. Based on the outstanding loan balance of the three Plaintiffs
             6 who allege a relationship with EverHome —who have an average loan balance of
             7 approximately $ $258,083.67, it is more likely that not that together, the aggregate
             8 outstanding loan balances ofthe remaining 203 Plaintiffs exceed the $4,225,749
            9 required to meet the $5,000,000 threshold. FAC ¶¶ 224, 251; Guglielmino v. McKee
            10 Foods Corp., 506 F.3d 696,699(9th Cir. 2007)("more likely than not" standard
           11     applies to amount in controversy under CAFA).
   L ~     12               18.    Moreover, the initial Complaint in this action alleged each of those
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   H   W   13 Plaintiffs' approximate outstanding loan balance. See Complaint, ¶¶ 21-168. The
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           14 loan balances ofthose Plaintiffs who are also named in the FAC as alleged in the
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   d ~ 15 Complaint total more than $64 million. Id. ¶¶ 21-69, 71-105, 107-165, 167-168.
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V~a        16              19.     In determining the amount in controversy, the Court may consider these
  ~ j
           17 allegations in the original Complaint, which are factual admissions by Plaintiffs.
           18 See Kosen v. Ruffing, No. 08-cv-0793-LAB(WMC),2009 WL 56040(S.D. Cal.
           19 Jan. 7, 2009)(finding jurisdiction and denying remand where plaintiff admitted
           20 amount in controversy requirement was met); American Title Ins. Co. v. Lacelaw
           21     Corp., 861 F.2d 224, 226 (9th Cir. 1988)("Factual assertions in pleadings ...are
           22 considered judicial admissions conclusively binding on the party who has made
           23 them."); Huey v. Honeywell, Inc., 82 F.3d 327, 333(9th Cir. 1996)(even when
           24 superseded, complaint "still remains as a statement once seriously made by an
           25 authorized agent, and as such it is competent evidence of the facts stated."); accord
           26 Unicorn Systems Inc v. Electronic Data Systems, Corp., No. CV 04-6716-
           27 AHM(RZx),2005 WL 5801534, at * 11 (C.D. Cal. Nov. 1, 2005); SST Sterling
           28


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 Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 12 of 100 Page ID #:1307




                  1 Swiss Trust 1987 AG v. New Line Cinema Corp., No. CV OS-2835-DSF(VBKx),
               2 2005 WL 6141290, at *2 n.l (C.D. Cal. Oct. 31, 2005).2
               3               20.    Plaintiffs alternately claim they have been damaged "in a sum
               4 according to proof, which —inclusive of all damages, costs and attorneys' fees — is
               5 equal to or less than $70,000 for each Plaintiff," or "in a sum less than $75,000."
               6 See, e.g., FAC ¶¶ 343, 394. Even taking Plaintiffs' assertions at face value, if each
               7 ofthe 207 Plaintiffs seeks actual damages of $70,000, then the aggregate amount
               8 sought is $14.49 million, and the $5,000,000 jurisdictional threshold is easily
               9 satisfied, without counting the value of any other form of relief Plaintiffs seek here.
              10              21.     Although no more is needed, it is also true that "special" or "punitive"
              1 1 damages are treated as part ofthe amount in controversy for purposes of removal.
    ~~
    0  0 12 "Where both actual and punitive damages are recoverable under a complaint each
   s
J~ fi. a 13 must be considered to the extent claimed in determining jurisdictional amount."
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~ ~= 14 Bell v. Preferred Life Assurance Soc °y, 328 U.S. 238, 240(1943). See also
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G'~i ~ 15 A mezcua, 2009 WL 1190553, at *3 (stating that claims for punitive damages are
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             16 generally considered part ofthe amount in controversy, provided that the underlying
             17 compensatory damages are not "speculative"}; Coren v. Mobil Entm't, Inc., No. 08-
             18 cv-05264, 2009 WL 764883, at *2(N.D. Cal. Mar. 19, 2009)(same). In light of
             19 Supreme Court precedent, and while Defendants deny that punitive damages are
             20 recoverable in any amount, Plaintiffs' FAC puts them "in controversy" and it is
             21     reasonable to assume that Plaintiffs will seek to recover punitive damages equal to
             22 ~t least four times the amount of actual damages. See State Farm Mut. Auto. Ins.
             23   See also Andrews v. Metro North Commuter R. Co., 882 F.2d 705, 707(2d Cir.
             24 1989) ("The amendment of a pleading does not make it any less the admission of the
                party."); Reichert v. Generallns. Co.,68 Cal. 2d 822, 836(1968)(in California,
             25 `[t]he doctrine ofjudicial admissions is not limited to verified complaints ...but
             26 applies to unverified complaints as well"); Friedberg v. Friedberg,9 Cal. App. 3d
                145, 761 (1970)(party amending pleading to suppress damaging admission in the
             27 original pleading will be held to damaging admission,
                                                                        unless original statement was
             28 iue to mistake, inadvertence, or an inadequate knowledge of facts).


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 Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 13 of 100 Page ID #:1308




               1 I Co. v. Campbell, 538 U.S. 408, 425(2003)(recognizing that the Court has upheld
               2 punitive damages awards up to four times the amount of compensatory damages).
               3             22.    Accordingly, based on Plaintiffs' own allegations in the FAC and the
               4 Complaint, and the various forms of relief sought against Defendants, there are
               5 reasonable grounds to conclude that Plaintiffs have put at least $5,000,000 in
               6 controversy. At minimum, it is "more likely than not" that the amount in
               7 controversy exceeds $5,000,000. See Guglielmino, 506 F.3d at 699(9th Cir. 2007);
               8 Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404(9th Cir. 1996)(stating that
               9 it need only be "more likely than not" that the amount in controversy exceeds
              10 required jurisdictional minimum). The CAFA jurisdictional requirement for
              1 1 removing a mass action is thus met.
     ~ n      12            23.     At Least One Plaintiff With More than $75,000 in Controversy.
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~ ~ W 13 Moreover, at least one Plaintiff meets the $75,000 jurisdictional threshold for
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o ~~° 14 traditional diversity jurisdiction, as required under 28 U.S.C. section
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             15 1332(d)(11)(B). See Abrego Abrego v. Dow Chemical Co., 443 F.3d 676,689(9th
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             16 Cir. 2006); Second Gronert Declaration ¶ 5, 6.
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             17                                  CAFA Exceptions Do Not Apply
             18             24.     Although Defendants deny that it is their burden to show that none of
             19 the exceptions to jurisdiction in 28 U.S.C. sections 1332(d)(11) apply, none do. See
             20 Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1019("The structure ofthe statute and
             21 the long-standing rule on proof of exceptions to removal dictate that the party
             22 seeking remand bears the burden of proof as to any exception under CAFA.").
             23             25.     This action does not fit within any of the exceptions set forth in 28
             24 U.S.C. section 1332(d)(11)(B)(ii) to an action being a "mass action"; in particular, it
             25 is not an action in which all the claims made in the case are asserted on behalf of the
             26 general public and not on behalf of individual claimants (see 28 U.S.C.
             27 § 1332(d)(11)(B)(ii)(III)). Likewise, this action does not arise exclusively from
             28 events or occurrences in California: Plaintiffs reside not only in California, but also


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 Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 14 of 100 Page ID #:1309




                 1 Nevada, Mississippi, Arizona, Florida, Maryland, Illinois, and Virginia, and allege a
              2 conspiracy among multiple defendants regarding loans that were not all negotiated
              3 or made in California(see 28 U.S.C. §1332(d)(11)(B)(ii)(I)). FAC ¶¶ 150-153, 158-
              4 159, 161, 168, 178, 180, 183, 186-.187, 195, 201, 203, 206.
              5             26.    Additionally, although more than two-thirds ofthe Plaintiffs are, on
              6 information and belief, citizens of California, the state in which the State Court
              7 Action was filed, see, supra, ¶¶ 9-11, mandatory declination ofjurisdiction under
              8 28 U.S.C. section 1332(d)(4) does not apply.3
              9             27.    First, the mandatory declination ofjurisdiction provision set forth in
             10 section 1332(d)(4)(A) does not apply because, inter alia, in the preceding three
             1 1 years, a class action was filed asserting the same or similar factual allegations
  ~~ 12 against at least one of the defendants here (America's Servicing Company)on
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     13 behalf ofthe same or other persons. See 28 U.S.C. § 1332(d)(4)(A)(ii); HPG Corp.
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            14 v. Countrywide Hone Loans, Case No. 2:10-CV-00945-JST-SS, Docket No. 1,
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            15 (C.D. Cal. Feb. 8, 2010)(complaint alleging wrongful foreclosure practices and
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            16 naming defendant America's Servicing Company). See also, e.g., National
            17 Organization ofAssistance For HomeowneYs v. Wells Fargo Bank, N.A. et al, No.
            18 8:11-cv-00589-DOC -JC, Docket No. 1,(C.D. Cal. Feb. 8, 2010)(Notice of
            19 Removal).
            20             28.     Second, the mandatory declination ofjurisdiction provision set forth in
            21 section 1332(d)(4)(B) does not apply because not all of the "primary" defendants are
            22 citizens of California, the state in which the State Court Action was filed. Although
            23 not defined in CAFA and not squarely addressed by the Ninth Circuit, other courts
            24 have defined "primary defendant" to include a defendant "(1) who has the greater
            25
                   3 The discretionary factors in section 1332(d)(3) do not apply because more
            26 :han one-third of the Plaintiffs are alleged to be citizens of California. 28 U.S.C. §
            27 1332(d)(3)(district court "may ... decline jurisdiction ... over class in which greater
               ;han one-third but less than two-thirds" ofthe plaintiffs are citizens ofthe state
            28 where the action is filed).


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                1    liability exposure;(2)is most able to satisfy a potential judgment;(3)is sued
                2 directly, as opposed to vicariously, or for indemnification or contribution;(4) is the
                3 subject of a significant portion ofthe claims asserted by plaintiffs; or(5) is the only
               4 defendant named in one particular cause of action." Brook v. UnitedHealth Group,
                5 Inc., 2007 WL 2827808,*5(S.D.N.Y. Sept. 27, 2.007)(citing cases). Courts also
               6 distinguish primary defendants from non-primary defendants as those against whom
                7 plaintiffs seek to hold directly, rather than derivatively, liable. See Corsino v.
               8 Perkins, 2010 WL 317418, *7(C.D. Cal. Jan. 19, 2010)("there seems to be a settled
               9 judicial understanding of `primary defendants' as those parties having a dominant
              10 relation to the subject matter ofthe controversy, in contrast tb other defendants who
              1 1 played a secondary role by merely assisting in the alleged wrongdoing, or who are
                                                                   Financial Investors
as
   o g 12 only vicariously liable"}(quoting McClendon v. Challenge
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        13 Corp., No. 1:08CV1189,2009 WL 589245, *13(N.D. Ohio Mar. 9, 2009)).
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              14 Finally,"[m]any courts agree that the term the primary defendants means that all
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              15 primary defendants must be citizens ofthe state concerned." Id. at *5 (internal
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              16 quotation marks and citations omitted; emphasis added)(citing cases).
      0   ~


              17            29.     Here, not all ofthe primary defendants are California citizens.
              18 Defendant EverHome, as explained above, is a citizen of Florida. See,supra ¶ 12.
              19 Additionally, the FAC alleges that Defendant America's Servicing Company is an
              20 Iowa corporation and that it serviced 30 Plaintiffs' loans; that American Home
              21    Mortgage Servicing Inc. is a Delaware corporation and serviced 16 Plaintiffs' loans;
              22 that Select Portfolio Servicing is a Utah corporation and serviced 12 Plaintiffs'
              23 loans; and that ING Direct is a Delaware corporation and 5 Plaintiffs' loans. FAC at
              24 3 (caption), ¶¶ 6-62, 174-178, 193., 201. On information and belief, none ofthe
              25 principal places of business (for corporations and non-bank defendants) or home
              26 offices (for national bank defendants) for these defendants are located in California.
              27 At least 66 ofthe Plaintiffs have thus raised claims against, and seek recovery
              28 directly from, these non-California Defendants. Accordingly, many of the primary


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              1 I defendants are not citizens of California, and this exception to the court's
              2 jurisdiction does not apply.
              3             30.     The exceptions in 28 U.S.C. section 1332(d)(5) and (9) also do not
              4 apply here. The exceptions in section 1332(d)(5) apply where a State, State official,
              5 or State entity is a party or where there are less than 100 plaintiffs. The exceptions
             6 in section 1332(d)(9) apply to actions that solely involve specific claims related to
              7 (1) covered securities as defined by the Securities Act of 1933 and the Securities
             8 Exchange Act of 1934,(2)internal affairs or corporate governance, and (3)rights,
             9 duties and obligations in the securities.
            10              31.     Therefore, because this case meets the requirements fora "mass
            1 1 action," including the requirements of 28 U.S.C. section 1332(d)(2)-(10), it is a
    ~~      12 "mass action" removable under CAFA.
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"~ h   ~Q   13 III.         PROCEDURAL REQUIREMENTS FOR REMOVAL
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           14       32.    Removal to Proper Court. This Court is part ofthe "district and
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~3  d °'~; 15 division" embracing the place where this action was filed—Santa Ana, California.
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v ..   16 See 28 U.S.C. §§ 1441(a)-(b), 1446(a). Venue is proper in this district pursuant to
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     ,
       17 28 U.S.C. section 1391.
            18              33.     Removal is Timely. Defendant first received notice ofthis action
            19 under 28 U.S.C. section 1446(b) when it was served with the FAC on March 21,
            20 2011. This Notice of Removal is filed within thirty days after Defendant's receipt
            21 ofthe initial pleading alleging a basis for removal as required by 28 U.S.C. section
            22 1446(b), and the removal is proper based upon original jurisdiction. Therefore, the
            23 requirements of 28 U.S.C. section 1441(a) and (c) are met in that the entire case may
            24 be removed to this Court.
            25             34.      Consent to Removal. For a removal under CAFA,unanimous consent
            26 of all Defendants is not required. 28 U.S.C. § 1453(b).
            27             35.      Notice. Pursuant to the provisions of28 U.S.C. section 1446,
            28 Defendants will promptly serve on Plaintiffs' counsel a Notice of Removal to All


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 Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 17 of 100 Page ID #:1312




              1 Adverse Parties, a true and correct copy of which (without exhibits) is attached
             2 hereto as Exhibit 6. Defendant will also promptly file with the Clerk of the
             3 Superior Court of the State of California, County of Orange, and serve on adverse
             4 parties' counsel, a Notice of Filing of Notice of Removal to Federal Court, a true
             5 and correct copy of which (without exhibits) is attached hereto as Exhibit 7.
             6            36.    Pleadings and Process. A copy ofthe Complaint and all other
             7 pleadings and papers received by Defendants and pending in the Superior Court of
             8 the State of California, County of Orange, is attached hereto as Exhibit 3.
             9            37.    Signature. This Notice of Removal is signed pursuant to Federal Rule
            10 0 of Civil Procedure 11. See 28 U.S.C. § 1446(a).
            11            38.    Bond and Verification. Pursuant to section 1016 ofthe Judicial
   V "'i
   O ~      12 Improvements and Access to Justice Act of 1988, no bond is required in connection
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a wa
"~ h   ~C   13 with this Notice of Removal. Pursuant to section 1016 of the Act, this Notice need
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            14 not be verified.
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   d~  15       39.    Based upon the foregoing, this Court has jurisdiction over this matter
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          pursuant to 28 U.S.C. section 1332(d), and the claims should be adjudicated in this
  ~ ~
            17 Court, as the action is properly removed thereto under 28 U.S.C. sections 1441,
            18 1446, and 1453.
            19           40.     In the event that Plaintiffs file a motion for remand, or the Court
            20 considers remand sua sponte, Defendants respectfully request the opportunity to
            21   submit such additional argument or evidence in support ofremoval as may be
            22 appropriate.
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                 1           WHEREFORE,this action should proceed in the United States District Court
                 2 for the Central District of California, as an action properly removed thereto.
                 3
                                                               Respectfully submitted,
                 4
                 5
                 6 Dated: Apri120,.2011                  By:            ~L~
                                                                TEVEN . ELLI
                 7                                             sellis goodwinprocter.com
                                                               ALIS N M. NURRIS
                 8                                             anorras goodwinprocter.com
                                                               SHA     A M. RAMSOWER
                 9                                             sramsower goodwin~procter.com
                                                               GOODWI PROCTER LLP
             10
                                                               Attorneys for Defendants:
             11                                                EverHome Mortgage Company, sued in
                                                               that name and as Alliance Mortgage
    L
    O '~
         ~   12                                                Company dba BNY Mortgage
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       ROY CHESTER DICKSON,ESQ,SBN 145583
       Law Offices of Dickson &Associates                             ELECTRONICALLY FILED
                                                                       Superior Gourt of California,
       2323 N. Tustin Avenue Suite[                                         County of Orange
       Santa Ana,CA 9?705                                              02AD7f2011 at 10:50:29 ~1
       Tel. ](888)777-9489                                              clerk of the Superior Court
       Fax. 1 (888)503-2119                                         By btaarit H Nordman,Deputy rlerlc
       E-mail: lawsuit@homeownersclassaction.org

       Attorneys for Plaintiffs


                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                       COUNTY OF ORANGE


  io                                                              Judge David C. 1~lasquez
       NATIONAL ORGANIZATION ~F
       ASSISTANCE FOR HOMEOWIJERS OF                    Case No. 30-2011-00447877-CU-OR-CXC

  12   CALIFORNIA a dba FINANC[AL WELLNESS
                                                        COMPLAINT:
       FOR HOMEOWNERS OF ORANGE COUNT
  i3   CORPORATION allon-Profit Homeowner
       Organization representing Indi~~idual Members;        1.     FRAUDULENT
  14   JAIME ACID; DIViNA ARAGON; ARACELI                    CONCEALMENT ~ VIOLATION OF CAL.
       ARREOLA; BRUCE BANH; ROGER                            CIV. CODE §§ 1.572,1709 AND 171OJ;
  is
       BARROW;PATRICIA CAMPOVERDE;
  16   PAULINE CANAS; RUSTICO CORPUZ;                        2.    INTENTIONAL
       ANTONIO CUELLAR;TRAM DAO;THOMAS                       MISREPRESENTATION VIOLATION
  i~   DIEP; DAR10 DRAKE; ARNOI.D DYSICO;                    OF CAL.CN.CODE §§:1572,1709 ANA
       LYDIA EDEJER; DELFiN FAVORITO; JAIA~                  1710;
  IS   Gt1INT0; CARMEN GUTIERREZ;BEATRICE
       HERNANDEZ;TRACY HO;SUSAN HOANG;                       3.     NEGLIGENT
  19                                                         MISREPRESENTATION VIOLATION
       DE HUYNH; FELIPE R LOPEZ; MARIO
       LOPEZ;; CHRISS NGUYEN;NORA ORTEZA,                    OF CAL.CIV. CODE §§ 1572,1709 AND
  zo                                                         t~to);
       ROSITA QUEJADA; LYNN RAMOS;
  21   MILAGROS REOTUTAR: MOISES
                                                             4.    INVASION OF
       RODRIGUEZ; CESAR SOLLA;HUMBERT~
  22                                                         CONSTITUTIONAL RIGHT TO
       TORRES ARREOLA;KNEO TRANS MARIA                       PRIVACY (VIOLATION OF CAL.
  23
       TRUJILLO;RAFAEL VASQUEZ; ANA                          CONST.,A.RT.1,§ 1;~;
       CALMA; FRANCISCO UBANA;JUAN
  za   BALTAZAR;TOMMY ENCINAS;SALVADOI                       5.    VIOLATION OF CALIFORNIA
       SASING,BRUCE BANH,B~BBY                               FINANCIAL INFORMATION PRIVACY
  25   CABESAS,EDUAR.DO FERRER,MARIA                         ACT[CAL. FI]Y. CODE §§ 4050 TO 4060);
       CORTEZ; ALAOLU AKANDE;EFREN AND
  26
       VICTORIA RAMIN; EMERITA ROSS;                         6.     VIOLATION OF CAL.,CML
  27   KHLOEUNG YOU;; MINH LY;JOSE CRUZ;                     CODE § 2923.5;
       RACHEL LICUANAN; ALBERT SANFORD;.
  is

                                               COMPLAINT


                                                                                       EXHIBIT 1       -14-
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        JESUS OROZCO; MICHAEL MGCARTHY;          7.     V10LATION OF CAL.,CIVIL
        MODESTO JAOJOCO;GEORGE ROXAS;            CODE § 2798.82;
        EDEN HER.RER.A ,JAY McREYNOLDS ,
        RAMON QUIZON ,BULMAR~                    8.     iJNFAIR COR'~ETITION
        MALDONADO, RODITHA CAMACHO,             (VIOLATIONS    OF CAL.BUS.&PROF.
        IGR1D AGRA,MARIA LOURDES                 CODE § 17200 ET SEQ.J
        CAHREROS,LOTA BAUTISTA,
        EVANGELINE BRIGHAM ,ARTHUR
                                            [JURY TRIAL DEMANDED]
        LINDSEY,FELICIDAD DIAZ,MARIANO
        PINEDA,RODOLFO CAIREL,PLINYLOU
        FONDEVILLA , MARJANO TADEO ,
        MANUEL HERNANDEZ ,JOSE MENDEZ,
        MARCIA GARCIA,CARLITO BUGAS.
        KATHRYN COWAN, MIRIAM ZUNIGA ,
        PATRICIA DOMINICUS,ISABEL
        FERNANDEZ,GLORIA ENRIQUEZ ,
  io
        JOSELTTO FABIONAR ,WILFREDO
        FUNTANILLA,ROSELLYN ROQUE ,
        VIRGINIA SEBASTIAN,SENEN
  ii    OCHOA,DANNY GARO, ALLISON GORE ,
        CECILIO GONZALEZ,MANOLO
  13    GONZALES ,JEANNIE HA , TIN NGUYEN ,
        ROEL VILLANUEVA,NICOLAS GARCiA ,
  14
        NANSHI(GNACIO,AUGUSTO
  is    PAGTAKHAN,RENATO VIRAY,ALICIA
        CORNEJO,PABLO KISLANKA,SUZANNE
  I6    LOBATO,ZENYMAE HARRINGTON, H(EU
        NGUYEN,XIONGH THAO,BOUA THAO,
  i?    MICHAEL PHAN,iREN[O PADILLA,
        MANUEL VILLANEDA,CASSANDRA
  ~x
        ANDRES,GUADALUPE GALVEZ,CELESTE
  19    RODGERS,JUDY BARTOLOME, ALLEN
        RICHARDSON,RAMON ALAN,G10ER0
  zo    VILLAC~RTA, MARIA ESQUIVAS,
        JENNIFER FABIA, ROBERT'O de ALBA,
  zi
        MARTHA VARGAS, VIRG1L10 VILANO;
  ~2    JOSE BALLESTEROS, MERLITA LAVARIAS,
        VIOLETA MARTINEZ,RICARDO
  23    ALAT'ORRE,HANG DAN,ASCENCION
        CARILLO, ANTONIO FLARES, MEDINA
  as    ANGEL,COCKY BULL, VIRGINIA
        PANTALEON,JUAN MANUEL NUNEZ,
  2s~
        ARACELI ALABEDA,THOMAS VUONG,
  26    SALVADOR TELLO, AUGUSTTN LUGUE,
        BENJAMIN CAPA,PAZ VERANO,SEUNG
  z~    HEE UM, MARIA LQURDES MAGLUPAY;
        JER.ROD LLOPIS,ANTONIO ALVE, MARY
  is

                                       COMPLAINT


                                                                   EXHIBIT 1   -15-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 22 of 100 Page ID #:1317




        JEAN P1SCO,MENANDRO MIRANDA,
        SENEN OCHOA, NANCY HYSON individuals,
        on behalf of themselves and all others on behalf
        of themselves and all others similarly situated,
        ROESI49 through 5000, inclusive

                            Plaintiffs,
              vs.


         ~i AMERICA'S SERVICING COMPANY, a Iowa
        '~ corporation; AMERICAN HOME MORTG~IGE
            SERVICING;INC, a Delaware corporation;
            SELECT PORTFOLIO SERVICING, a Utah
            corporation; iNG DIRECT, a Delaware
  io        corporation, BANK UNITED,FSB,a corporation,
            OPTION ONE MORTGAGE, a corporation,
            PEOPLE's CHOICE HOME LOAN INC, a
            corporation, BENIFICIAL CALIFORNIA fNC, a
  12        corporation,.      HSBC       MORTGAGE
            CORPORATION, GATEWAY BANK, PHH
  13
        . MORTGAGE,              CENLAR         LOAN
  is        ADMINISTRATION,        BAYVIEW      LOAN
            SERVICES, F1RST FEDERAL BANK of CA,
  15        FIRST FRANKLIN LOAN SERVICES.
            SOVEREIGN BANK. MIDWEST LOAN
  16        SERVICES, [JNION         BANK;    BANCO
            POPULAR, N.A., PROVIDENT FUNDING
  i~
            ASSOCIATES, EVERHOME MORTGAGE
   ~s       COMPANY, AEG1S WHOLESALE CORP.,
            WILSHIRE CREDIT UNION, TMST HOME
   19       LOANS, INC, NATIONSTAR MORTGAGE,
            LLG,MOR EQUITY, FR.EED~M MORTGAGE
  20        CORPORATION,                 CARRINGTON
        i~  MORTGAGE         SERVICE,   LNG    BEACH
  21
            MORTGAGE CO., SUNTRUST MORTGAGE
  Zz    ', INC., PNC FINANCIAL SERVICES, CATHAY
         ~, BANK,H01vIECOMINGS        FINANCIAL,LLC,
            QUANTUM                        SERVICING
            CORP.,SPECIALIZED LOAN SERVICING,
  i4
        I LLC, RCS, VERIGREST FINANCIAL (NC,
  2s        RESMAE        MORTGAGE     CORD, CMS,
            DESSERT           COMMUNITY        BANK,
  26        CALDIRECT HOME LOAN, GREENPO(NT
            MORTGAGE FUNDING,INC, MET LIFE,
  n         MTRAD F17JANCIAL GROUP, VANDERBILT
            MORTGAGE,CAPITAL ONE MORTGAGE,
  ~a

                                                  COMPLAINT


                                                                 EXHIBIT 1   -16-
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        FIRST FEDERAL BANK, GE MONEY BANK
        UNIVERSAL          AMERJCAN          MORTGAG
   z i COMPANY             OF      CA,      BRENWA
        MORTGAGE,           BAYROCK          MORTGAG
   3
       CORPORATION,and Does 1 to 1000, inclusive
   a
                       Defendants
   s
       .Plaintiffs, and each of them, hereby demand a jury trial and allege as follows;
  6

   7

   S                                            INTRODUCTION

   9
               1.        This lawsuit arises from: (i) Defendants' deception in inducing Plaintiffs to
  io
       enter into mortgages from 2002 through 2007 with the Defendants (defined below in Paragraph
  ii
       8); (ii} Defendants' breach of Plaintiffs' Constitutionally and statutorily protected rights of
  12
       privacy; and (iii) Defendants' continuing torturous conduct intended to deprive Plaintiffs of their
  13

  is   rights and remedies for the foregoing acts, described below.

  is          2.         This action seeks remedies for the foregoing improper activities, including a
  16
       massive fraud perpetrated upon Plaintiffs and other borrowers by the Defendants that devastated
  17
       the values of their residences, in most cases resulting in Plaintiffs' loss of ail or substantial►y all
  ~g
       of their net worth.
  19


  20          3.         Defendants was among the leading providers of mortgages in California during

  zi ~~all times relevant. to this Complaint.

  n           4.         The fraud perpetrated by the Defendants from ?003 tivough 2007, including by
  23
       Defendants starting no later than 2007, was willful and pervasive. Jt begin with simple greed and
  24
       then accelerated when Defendants discovered. that Defendants could not sustain its business,
  2s
       unless it used its size and lazge market share in California to systematically create false and
  26

  n    inflated property appraisals tluoughout California.. Defendants then used these false property

  za                                                     a
                                                    COMPLAINT



                                                                                              EXHIBIT 1    -17-
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    i t valuations to induce Plaintiffs and other borrowers into ever-larger loans on increasingly risky

        terms.
   3
                 5.       Hand-in-hand with its fraudulently-obtained mortgages, Defendants with other
   a
        mortgage companies hatched a plan to "pool" the foregoing mortgages and sell. the pools for
   5
        inflated value. Rapidly, these two intertwined schemes grew into a brazen plan to disregard
   6

        underwriting standards and fraudulently inflate property values —county-by-county, city-by-city,

   s    person-by-person — in order to take_ business from legitimate mortgage-providers, and moved on

   9    to massive securities fraud hand-in-hand .vith concealment from, and deception of, Plaintiffs and
   14
        ~ other morteagees on an unprecedented scale.
   ii
                 6.       From as early as 2004. Defendants' senior management knew the scheme
  iz
        would cause a liquidity crisis that would devastate Plaintiffs' home values and net worth. But,
   13

   ~a   they didn't care, because their plan was based on insider trading —pumping for as long as they

   is   could and then dumping before the truth came out and Alaintiffs' losses wire locked in.

   i~
                 7.       At the very Izast, at the time of entering into the notes and deeds of trus~~
  i~
        referenced herein with respect to each Plaintiff, Defendants, each Defendant originating a
   i~
        mortgage, each Defendant in the chain of title of the foregoing mortgages and each Defendant
   19
        servicing the foregoing mortgages and the successors to each of the foregoing (collectively, the
  ?o
  >>    "Defendants") was bound and obligated to fully and accurately disclose to each borrower,

  22    including each Plaintiff herein„ that the mortgage being offered to the Plaintiff was, in fact, part

  23
        of a massive fraud that Defendants knew would result in the loss of the equity invested by
  2a
        Plaintiff in his home and in severe impairment to Plaintiffs credit rating.
  ~s
                 8.       It is now all too clear that this was the ultimate high-stakes fraudulent
  26

  ~7    investment scheme of the last decade. Couched in banking and securities jargon, the deceptive

  28
                                                         S

                                                    COMPLAINT



                                                                                            EXHIBIT 1    -18-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 25 of 100 Page ID #:1320




   i    gamble with consumers' primary assets —their homes —was nothing more than a financial fraud

   z    perpetrated by Dependants and others on a scale never before seen. This scheme led directly to a
   3
        mortgage meltdown in California that was substantially worse than economic problems facing
   a
        the rest of the United States. From 2008 to the ~resenl, Californians' home values decreased by
   s
        considerably more than most of other areas in the United States as a direct and proximate resuli

        of the Dependants' scheme set forth herein. The Defendants Dependants' business premise was

        to leave the borrowers, including Plaintiffs, holding the bag once Defendants and its executives

        had cashed in reaping huge salaries and bonuses and selling Defendants' shares based. on their

        inside inforrnati~n, while investors were still buying the increasingly overpriced mortgage pools

        and before the inevitable denouement. This massive fraudulent scheme was a disaster both

        foreseen by Defendants and waiting to happen. Defendants knew it, and yet Defendants still

        induced the Plaintiffs into their scheme without telling them.

   u           9.         As a result, Plaintiffs lost their equity in their homes, their credit ratings and

   ib   histories were damaged or destroyed, and Plaintiffs incurred material other costs and expenses,
  17
        described herein. At the same time, Defendants took from Plaintiffs and other borrowers billions
   IS
   19   of dollars in interest payments and fees and generated billions of dollars in profits by selling their

        loans at inflated values.
  ~o
  ,~           10.        Like a drug that requires ever-higher doses to yield the same high, the fraud

  zz    reached its zenith — or its nadir —when Defendants systematically destroyed California home

  23    values county-by-county and then State-wide.
  z~
               1 1.       Then, Defendants began to use their customers' most private information for
  Zs
        an extra "edge". This use of private information violated the inalienable Constiwtional rights
  2b
        accorded to all California citizens: Defendants' violations ranged from the disclosure of the
  z~

  za                                                     6

                                                     COMPLAINT


                                                                                              EXHIBIT 1    -19-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 26 of 100 Page ID #:1321




   i    most private and confidential information of more than 2.4 million customers, to the outsourcing

   z and sale of hundreds of thousands of records to bolster their fraudulent scheme, disenfranchising
   3
       'i lCalifornians of their Article, ~ 1 inalienable rights of privacy, that went far beyond the sale of
   a
        Private Information disclosed in the settlement of the }:entucky Class Action (defined below in
   5
        Paragraph 270 and described herein).
   6

   7              12.     Since the time Plaintiffs filed the initial Complaint herein, Defendants'

   s ~ ~ improper acts have continued, including, inter alias (i) issuing Notices of Default in violation of
   9
        Cal. Civil Code §2923.5; (ii) misrepresenting their intention to arrange loan modifications for
  io
        Plaintiffs, while in fact creating abusive roadblocks to deprive Plaintiffs of their legal rights; and
  ~~
       (iii) engaging in intrinsic fraud in this Court and in Kentucky by stalling in addressing Plaintiffs'
  i2
        legitimate requests to cancel. notices of default and for loan modifications, and by refusing to
  13

  is    respond, in any way,to Plaintiffs' privacy causes of action.

  IS
                  1 3.    In this Class Action Complaint, Plaintiffs) seek, inter alia, the injunction of
  16
        various foreclosure and eviction proceedings, for themselves and others similarly situated, based
  i~
        on the Defendants' routine failure io comply with statutory prerequisites to foreclosure.
  IB
        Plaintiffs and the class they seek to represent, also seek a determination of the validity of
  19    foreclosure sales held in violation of statutory requirements, together with damages and other
  zo    relief.
  1~              14.     The State of California has longstanding, statutorily prescribed nonjudicial
  i2 foreclosure procedures, with minimal protections for homeowners. Cul. Civil Code yS292d e~
  23    seq. Homes are normally foreclosed pursuant to the statutory power of sale, without. a pre-

  za    foreclosure court hearing.

  25              15.     The law is clear, however; That entities foreclosing on mortgages must strictly

  26    comply with the State's statutory prerequisites to foreclosure. Among other things, as a matter

  27
        of black letter-law, the entity exercising the right to foreclose must have actual legal authority io
        enter the property and/or exercise the. power ofsale. Cal. Civil Code ~'725a, ¢726
  28


                                                     COMPLAINT


                                                                                              EXHIBIT 1    -20-
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    i
                   16.       ]n recent years, many foreclosing entities, including the Defendants, have
   2
           dispensed with this Fundamental requirement. Stich entities foreclose, through their counsel,
   3 ~1
            without having first obtained assignment of the mortgage and the power of safe on the properly
   a
            they purport to foreclose.
   s               1 7.       California's foreclosure process has become an undisciplined and lawless rush
   6        to seize homes. Many thousands of foreclosures are plainly void under statute and settled

           California case law. Most borrowers never obtain accurate statutorily required notices,
   g       California Court judgments are entered based on inaccurate recitations concerning ownership of
   9        the mortgage, and homes are resold without a proper chain oFtitle.

   io              18.        Plaintiffs in this manner seek relief for the Defendants' wrongful foreclosure

   ~~       practices. They seek declaratory and. injunctive relief concerning the validity of foreclosures

   i~      conducted by entities who do not hold a power of sale at the time of the sale, injunction of

   13      eviction actions pending procedures to verify the validity of the underlying sales, injunction of

   w        upcoming sales where there is no proof of assignment, cancellation of fees and casts for invalid

           sale processes and damages.
   ~s
                   19.       Plaintiffs seek such relief on their own behalf and behalf of a class of similarly
   i~
           situated individual$.
   i~
                                                       PARTIES
  is

  19 '~,           20.        Plaintiff, National Organization of Assistance for Homeowners of California

  ao (NOAH-CA), a dba of Financial Wellness for Homeowners of Orange County Corporation

  21
           (FWHOC) with its :principle place ofbusiness located at 500 North State College Blvd. Suite
  Zz
            1 100. Orange, CA 92868. FWHOC is a nonprofit corporation organized and operated
  23
            exclusively for educational and charitable purposes. Specifically, this organization has been
  za
           formed to instruct and train individuals for the purpose of improving and developing then
  25

  26       financial capabilities; provide administrative and formative support for the different homeowners

  z~
   ~8
                                                            8

                                                       COMPLAINT



                                                                                               EXHIBIT 1    -21-
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    i   association who will be helping each member retain their homes and be financially well in time;

   z    and provide relief to the poor, distressed and underprivileged
   3
               21.        Plaintiffs JAIME ACIO a member of NOAH-CA residing in the State of
   a
        California, who borrowed money from BNC Mortgage,Jnc             or its subsidiaries or affiliates

        between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
   6

        real estate. At all Mmes material hereto, America's Szrvicing Company has acted as Servicer or

   g    Borne other control capacity over processing the loan, with a principle balance of about $629,816.

               22.        Plaintiffs UNINA ARAGON a member of NOAH-CA residing in the State of
   io
        California, who borrowed money from Winstar Mortgage Partners, Inc or its subsidiaries or
   ii
        affiliates between January 1, 2002 and December 31, 2007, secured by a deed of trust on their
   12
        California real estate. At all times material hereto, America's Servicing Company has acted as
   13

   14   Servicer or Borne other control capacity over processing the loan, with a principle balance of

   is ~ about $472,000.

   16
               23.        Plaintiffs ARACELI ARREOLA a member of NOAH-CA residing in the State
   i~
        of California, who borrowed money from Preferred Financial or its subsidiaries or affiliates
   IS
        between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
   19
        real estate. At all times material hereto. America's Servicing Company has acted as Servicer or
  Zo

  21    some other control capacity over processing the loan, with a principle balance of about X523,450.

  zi           24.        Flaintiffs BRUCE BANH a member of NOAH-CA residing in the State of
  23
        California, who borrowed money from First California Mortgage or its subsidiaries or affiliates
  24
        between January 1, 2002 and December 31.2007, secured by a deed of trust on their California
  zs
        real estate. At all times material hereto, America's Servicing Company has acted as Services or
  26

  z~    some other control capacity over processing the loan, with a principle balance of about $480,000.

  2s                                                    9

                                                    COMPLAINT


                                                                                          EXHIBIT 1    -22-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 29 of 100 Page ID #:1324




    i          25.       Plaintiffs ROGER BARROW a member of NOAH-CA residing in the State of

        California, who borrowed money from Option One Mortgage or its subsidiaries or affiliates
   3
        between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
   a
        real estate. At all times material hereto. Arnerica's Servicing Company has acted as Servicer or
   5
        some other control capacity aver processing the loan, with a principle balance of about $539,000.
   6
               26.       Plaintiffs PATRICIA CAMPOVERDE a member of NOAH-CA residing in

   g    the State of California, who borrowed money from Preferred Financial Mortgage,lnc or its
   9
        subsidiaries or affiliates between January 1, 2002 and December 31, 2007, secured by a deed of
   ~D
        trust on their, California real estate. At all times material hereto, America's Servicing Company
   ~i
        has acted as Servicer or some ocher control capacity over processing the loan, with a principle
   ►~
        balance of about $491,20.
   13

   is          27.       Plaintiffs PAULINE CANAS a member of NOAH-CA residing in the State of

   is   California, who borrowed money from Bryco Funding,lnc           or its subsidiaries or affiliates
   16
        between January I, 2002 and December 31, 2007, secured by a deed of trust on their California
   17
        real estate. At all times material hereto, American Home Mortgage Servicing Company,inc has
   is
        acted as Servicer or some other control capacity over processing the loan, with a principle
   19

   zo   balance of about $361,745.

  ,~           28.       Plaintiffs RUSTICO CORPUZ a member of NOAH-CA residing in the $fate

   zz   of California; who borrowed money from Reunion Mortgage [nc or its subsidiaries or af~itiates

        behveen January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
   za
        real estate. At all. times material hereto, America's Servicing Company has acted as Servicer or
  25
        some other control capacity over processing the loan, with a principle balance of about $605,000.
  ?6

   27

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                                                       10

                                                   COMPLAINT


                                                                                         EXHIBIT 1    -23-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 30 of 100 Page ID #:1325




               29.       Plaintiffs ANTONIO CUELLAR a member of NQAH-CA residing in the
   z
        State of California, who borrowed money .from American Home Mortgage Acceptance,lnc or its
   3
        subsidiaries or affiliates between January 1, 2002 and December 31, 2007, secured by a deed of
   a
        trust on their California real estate. At all times material hereto, American Home Mortgage
   5
        Servicing Company,lnc has acted as Servicer or some other control capacity over processing the
   6

        loan, with a principle balance of about $301;000.

               30.       Plaintiffs TRAN DAO a member of NOAH-CA residing in the State of

        California, who borrowed money from American Home Mortgage Acceptance lnc or its

        subsidiaries or affiliates between January 1, 2042 and December 31, 2007, secured by a deed of

        trust on their California real estate. At all times material hereto, American Home Mortgage

        Servicing Company,lnc has acted as Servicer or some other control capacity over processing the

        loan, with a principle balance of about $479,1 l6.

               3l.       Plaintiffs THOMAS D1EP a member of NOAH-CA residing in the State. of
  ~~
        California, who borrowed money from American Home Mortgage Acceptance lnc or its
   ~~
        subsidiaries or affiliates between January 1, 2002 and December 31,2007, secured by a deed of
   is
        trust on their California real estate. At all times material hereto, American Home Mortgage
   19

  zo    Servicing Company, Inc has acted as Servicer or some ocher control capacity over processing

  zi    the loan, with a principle balance ofabout $299,926.

  22           32.       Plaintiffs DARIO DRAKES a member of NOAH-CA residing in the Staie of
  ~}
        California, who borrowed money from Commonwealth Home Mortgage or its subsidiaries or
  zA
        affiliates between January 1, 2002 and December 31, 2007. secured by a deed of trust on their
  is
        California real estate   At all times material hereto, American Home Mortgage Servicing
  26

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  28
                                                        II

                                                    COMPLAINT


                                                                                       EXHIBIT 1 -24-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 31 of 100 Page ID #:1326




        Company,lnc has acted as Servicer or some other control capacity over processing the loan, with

        a principle balance of about $380.800.

               33.         Alaintiffs ARNOLD DYSICO a member of NOAH-CA residing in the State of

        California, who borrowed money from First California Mortgage or its subsidiaries or affiliates

        between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California

        real estate. At all times material hereto, America's Servicing Company has acted as Servicer or

        some other control capacity over processing the loan, with a principle balance of about $746,250.

               34.         Plaintiffs LYDIA EDEJER a member of NOAH-CA residing in the State of

        California, who borrowed money from DH! Mortgage Company,LTD or its subsidiaries or

        I~ affiliates between January 1, 2002 and December 3l, 2007, secured by a deed of trust on their
   iz
        California real estate. Al aU times material hereto, America's Servicing Company has acted as
   13

   is   Servicer or some other control capacity over processing the loan, with a principle balance of

   is   about $686,068.
   16
               35.         Plaintiffs DELFIN FAVORITO a member of NOAH-CA residing in the State
   i~
        of California, who borrowed money from Specialized Loan Servicing, LLC or its subsidiaries or
   is
        affiliates between January 1, 2002 and December 31, 2007, secured by a deed of trust on their
   19
        California real estate. At all times material hereto, America's Sen~icing Company has acted as
  to

  21    Servicer or some other control capacity over processing the loan. with a principle balance of

  z?    about $l 10,500.

               36.         Plaintiffs JAIME GUINTO a member of NOAH-CA residing in the State of
  2a
        California, who borrowed money from American Home Mortgage Servicing, Inc                 or its
  is
        subsidiazies or affiliates between January 1:2002 and December 31, 2007, secured by a deed of
  2b
        wst on their California real estate. At all times material hereto, American Home Mortgage
  2~

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                                                       IZ

                                                   COMPLAINT


                                                                                          EXHIBIT 1   -25-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 32 of 100 Page ID #:1327




        Servicing, Inc has acted as Servicer or some other control capacity over processing the loan,

        with a principle balance of about $ 425,176.
    3
               37.        Plaintiffs CARMEN GUTIERREZ a member of NOAH-GA residing in the
    a
        State of California, who borrowed money The Mortgage Store Financial lnc from              or its
    s
        subsidiaries or affiliates between January .1, 2002 and December :il, 2007, secured by a deed of
   6

        trust on their California real estate. At all times material hereto, America's Servicing Company

   8    has acted as Servicer or some other control capacity over processing the loan, with a principle

    9   balance of about $339,047.00
   io
               38.        Plaintiffs BEATRICE NERNANDEZ a member ofNOAH-CA residing in the
   ii
        State of Californian who borrowed money First National Bank from or its subsidiaries or
   12
        affiliates between January 1, 2002 and December 31, 2007, secured. by a deed of trust on their
   13

   l4   California real estate. At all times material hereto, America's Servicing Company has acted as

   is   Servicer or some other control capacity over processing the loan, with a principle balance of
   16
        about $605,652.
   i~
               39.        Plaintiffs TRACY HO a member of NOAH-CA residing in the State of
   is
        California, who borrowed money Union Federal Bank from or its subsidiaries or affiliates
   19
        between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
   ao

   2~   real estate. At all times material hereto, America's Servicing Company hay acted as Sery cer or

  2i    some other control capacity over processing the loan, with a principle balance of about.$]79,000.
  23
               ~0.        Plaintiffs SUSAN HOANG a member of NOAH-CA residing in the State of
  24
        California, who borrowed money America's Wholesale Lender from or its subsidiaries or
   xs
        affiliates between January 1, 2002 and December 31, 2007, secured by a deed. of trust on their
  26
        California real estate. At all times material hereto, America's Servicing Company has acted as
   27

  28
                                                       13

                                                   COMPLAINT


                                                                                          EXHIBIT 1   -26-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 33 of 100 Page ID #:1328




         Servicer or some other control capacity over processing the loan, with a principle halance of

   z ' about $67b,572.

   3
                41.        Plaintiffs DE HUYNI-I a member of NOAH-CA residing in the State of
   a
         California, who borrowed money Ameriquest Mortgage from or its subsidiaries or affiliates
   5 ~
         between January 1, 2002 and December 31, 2007. secured by a deed of trust on their California
   6
         real estate. At all times material hereto, America's Servicing Company has acted as Senlicer or

   s     some other control capacity over processing the loan; with a principle balance of about $272,822.

                ~2.        Plaintiffs FELIPE LOPEZ a member of NOAH-CA residing in the State of
   in
         California, who borrowed money       American Brokers Conduit from        or its subsidiaries or
   ii
         affiliates between January 1, 2002 and. December 31, ?007, secured by a deed of trust on their
   it
         California rea[ estate. At all times ma~erial hereto, American Home Mortgage Servicing,Inc has
   ~3

   is    acted as Servicer or some other control capacity over processing .the loan, with a principle

   IS    balance of about $555..849.
  16
                43.        Plaintiffs MARIO LOFEZ a member of NOAH-CA residing in the State of
  i~
         California, who borrowed money Central Banc Mortgage Corp from or its subsidiaries or
  is
         affiliates between January I, 2002 and December 31, 2007, secured by a deed of trust an their
   19

         California .real estate. At all times material hereto, America's Servicing Company has acted as
  10

  it     Servicer or some other control capacity over processing the loan, with a principle balance of

  i2     about $335,000.

  23
                44.        Plaintiffs   ALICIA AN?ONIA MALDONADO a member of NOAH-CA
  za
         residing in the State of California, who borrowed money Bankers West Funding from or its
  zs
         subsidiaries or affiliates between January 1, 2002 and December 31, 2007, secured by a deed of
  ~6

         trust on then California real estate. At all times material hereto, America's Servicing Company
  27

  28
                                                        14

                                                    COMPLAINT



                                                                                          EXHIBIT 1    -27-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 34 of 100 Page ID #:1329




         has acted as Services or some other control capacity over processing the loan, with a principle
   -,    balance of about $357,000.
    3
                45.         Plaintiffs CHR15S NGUYEN a member of NOAH-CA residing in the State of
    4
        California, ~++ho borrowed money Reunion Mortgage Funding from or its subsidiaries or
   s
        affiliates between January 1, 2002 and December 31, 2007, secured by a deed of trust on their
   6

        California real estate. At alt times material hereto, America's Servicing Company has acted as

   s Services or some other control capacity over processing the loan, with a principle balance of
   9
        ~ about $G27,500.
   io
                46.         Plaintiffs NORA OR"TEZA a member of NOAH-CA residing in the State of
   i~
        California, who borrowed money from Fremont Investment &Loans or its subsidiaries or
   is
        affiliates between January 1, 2002 and December 3l, 2007, secured by a deed of trust on their
   i3

   is    California real estate. . At all times material hereto, America's Servicing Company has acted as

   IS   Services or some other control capacity over processing the loan, with a principle balance of
   Ib
        ~ about $589,26b.
   i~
                47.         Plaintiff R~STTA QUIJADA a member of NOAH-CA residing in the State of
   is
         California., who borrowed money from Option One Mortgage Corp or its subsidiaries or affiliates
   19
              January 1, 2003 and December 31, 2007, secured by a deed of trust on her California
   20 between
   2~   real estate, At all times material hereto, American Home Mortgage Servicing,Inc has acted as

   az Services or some other control. capacity over processing the loan, with a principle balance of
   23
        { about $651,878.
   7q
                48.         Plaintiff LYNN RAMS a member of NOAH-CA residing in the State of
   ~s
         California, who borrowed .money from American Brokers Conduit or its subsidiazies or affiliates
   25

         between January 1, 200 and December 31, ?007, secured by a deed of trust on his California
   z~
   28
                                                       IS

                                                   COMPLAINT



                                                                                         EXHIBIT 1    -28-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 35 of 100 Page ID #:1330




    i ~ real estate. At alt times material hereto, American Home Mortgage Servicing,Inc has acted as

        ~ Servicer or some other control capacity over processing the loan, with a principle balance of
   3
        J about $689,651.00.
   a
                49.       Plaintiff MILAGROS REOTUTAR a member of NOAH-CA residing in the
   s
        State of Ca1ifomia, who borrowed money from Resmae Mortgage or its subsidiaries or affiliates
   6

        between January 1, 2003 and December 31, 2007, secured by a deed of trust on her California

   s    real estate. At all times material hereto, America's Servicing Company has acted as Servicer or
   9    some other control capacity over processing the loan, with a principle balance of about
   io
        $600,000.00
   ti
                50.       Plaintiff MOISES RODRIGUEZ a member of NOAH-CA residing in the State
   ~?
        of California, who borrowed money from Shasta Financial Service or its subsidiazies or affiliates
   i3

   Id   ~ between .January 1, 2003 and December 31, 2007, secured by a deed of trust on .her California

   is   real estate. At all times material hereto, America's Servicing Company has acted as Servicer or
   i~   some other control capacity over processing tt~e loan, with a principle balance of about
  ~7
        ~ $?34,857.97.
  IR
               51.        Plaintiff GESAR SOLLA a member of NOAH-CA residing in the State of
   19

  Zo    California, who borrowed mone~~ from H&R Block Mongage or its subsidiaries or affiliates

  zi     between January 1, 2003 and December 31, 2007? secured by a deed of trust on her California

  z1    real estate. At all times material hereto, American Home Mortgage Servicing,lnc has acted as
  v ~ Servicer or some other control capacity over processing the loan, with a principle balance of

  Za
        ~ about $590.000.00.
  zs
               52.        Plaintiff' HUMBERTO TOR.RES ARREOLA               a member of NOAH-CA
  26
        residing in the State of California, who borrowed money from First National Bank of Arizona or
  27

  28
                                                       16

                                                   COMPI,aBvT


                                                                                          EXHIBIT 1   -29-
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    i   its subsidiaries or affiliates between January 1, 2003 and December 3l, 2007, secured by a deed

        of trust on her California real estate. At all times material hereto, America's Servicing Company

        has acted as 5ervicer or some other control capacity over processing the loan, with a principle
   4
        ~ balance of about $183,998.
   s
                53.       Plaintiff KHEO IRAN a member of NOAH-CA residing in the State of
   6

        California, who borrowed money From America's Servicing Company or its subsidiaries or

   a    affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his

   9    California real estate. At all times material hereto, America's Servicing Company has acted as
   ~o
        Servicer or some other control capacity over processing the loan, with a principle balance of
   i►
        about $252,760.
   12
                54.       Plaintiff MARIA TRUJILLO a member of NOAH-CA .residing in the State of
   13

  i~    California, who borrowed money from First Franklin or its subsidiaries or affiliates between

   f5   January 1, 2003 and December 31, 2007, secured by a deed of trust on his California real estate.

   16
        A t afl times material hereto, America's Servicing Company has acted as Servicer or some other
  i~
        control capacity over processing the loan, with a principle balance of about $207,000.00.
  is
                55.       Plaintiff R.AFAEL VASQUEZ a member of NOAH-CA residing in the State
   19

        of California, who borrowed money from American Brokers Conduit or its subsidiaries or
  zo
  ~i    affiliates between January 1, 2003 and December 3 t, 2007, secured by a deed of trust on her

  2z I California real. estate. At all times material hereto, American Home Mortgage Servicing,Inc has
  23
        acted as Servicer or some other control capacity over processing the loan, with a principle
  24
        balance of about 464,000.00.
  ~s
               56.        Plaintiff ANA CALMA a member of NOAH-CA. residing in the State of
  26

  z7    California, who borrowed money from Executive Funding UT lnc or its subsidiaries or affiliates

  28
                                                       17

                                                   CO~IPLAIfVT


                                                                                          EXHIBIT 1 -30-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 37 of 100 Page ID #:1332




        between January l , 2003 and December 3l, 2007, secured by a deed of trust on her California

    z ~ real estate. At all times material hereto. American Servicing Company has acted as Servicer or

    3
        some. other control capacity over processing the loan, with a principle balance of about
    a
        $466,000.00
    3
               57.       Plaintiff FRANCISCO UBANA a member of NOAH-CA residing im the State
   6

        of California;. who borrowed money from Olympia Funding Inc or its subsidiaries or at~iliates

    s   between January 1, 203 and December 31, 2007, secured by a deed of trust an their California

   9    real estate. At all times material hereto, American Horne Mortgage Services ]nc has acted as
   10
        Servicer or some other control capacity over processing the loan, with a principle balance of
   ii
        about $650,000.00.
   is
               58.       Plaintiff JUAN BALTAZAR a member of NOA}-1-CA residing in the State of
   13

   t4   California, who borrowed money from WMC Mortgage Corp. or its subsidiazies or affiliates

   is   between January 1, 2003 and December 31, 2007, secured by a deed of trust on her California

   ie   real estate. At all times material hereto, American Servicing Company has acted as Servicer or
   i~
        some other control capacity over processing the Loan, with a principle balance of$485,035.00
   IA
               59.       Plaintiff TOMMY ENCINAS a member of NOAH-CA residing in the State of
   19
        California, who borrowed money from Option One Mortgage Corporation or its subsidiazies or
   zo

   zi   affiliates between January 1, 2003 and December 3l, 20 7, secured by a deed of hvst on her

   zz   California real estate. At all times material hereto, American. Home Mortgage Servicing,Inc has

   ?3   acted as Servicer or some other control capacity over processing the loan, with a principle
   2d
        balance oEabout $438,300.00.
   25
               60.       Plaintiff SALVADOR BASING a member of NOAH-CA residing in the State
   26
        of California, who borrowed money from (NG BANK, FSB or its subsidiaries or affiliates
   11

   28                                                 18

                                                  coMP~nirrr


                                                                                        EXHIBIT 1      -31-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 38 of 100 Page ID #:1333




    i    between January 1, 2003 and December 31, 2007, secured by a deed of trust on their California

         real estate. At all times material hereto, ING DIRECT has acted as Servicer or some other
   3
         control capacity over processing the loan, with a principle balance of about $549,950.00.
   4
                61.        Plaintiff BRUCE BANH a .member of NOAH-CA residing in the State of
   s
         California, who borrowed money from ING Bank FSBct or its subsidiaries or affiliates between
   6

         January 1, 2003 and December 31, 2007, secured by a deed of trust on her California real estate.

   8     At all times material hereto, ING Direct has acted as Servicer or some other control capacity

   9
         over processing the loan, with a principle balance of about $352,000.00.
  ~~~i
                62.        Plaintiff BOBBY CABESAS a member of NOAH-CA residing in the State of
   ii
         California ~vho borrowed money from Loan Management Services or its subsidiaries or
   i2
         affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on her
   13

   14    California real estate. At all times .material hereto, SELECT PORTFOLIO SfiRV10ES has acted

   is    as Servicer or some other control capacity o~~er processing the loan, with a principle balance of
  16
         ~ about $416,331.44
  n
                63.        Plaintiff EDUARDO FERRER are member ofNOAH-CA residing in the State
  IB
         of California, who borrowed money from ING DIRECT or ics subsidiaries or affiliates between
   ~9
         January 1, 2003 and December ~ I, ?007, secured by a deed of trust on his California real estate.
  to

  zi     At all times material hereto, MG DIRECT his acted as Servicer or some other control capacity

  2z     over processing the loan, with a principle balance of about $787,500.00

  23
                64.        Plaintiff MARIA CORTEZ are member of NOAH-CA residing in. the State ~f
  za
         California, who borrowed. money from American Broker Conduit or its subsidiaries or affiliates
  1s
         between January 1, 2003 and December 31, ?007, secured by a deed of trust on his California
  26

  2i     real estate. At all times material hereto, American Home Mortgage Services, Tnc has acted as

  is
                                                        19

                                                    COMPLAINT


                                                                                           EXHIBIT 1   -32-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 39 of 100 Page ID #:1334




          Servicer or some other control capacity over processing the loan, with a principle balance of

          about $396,000.00

                 65.       Plaintiff OLAOLU AKANDE are member of NOAH-CA residing in the State

          of California, who borrowed money from National City Bank or its subsidiaries or affiliates

          between January 1, 2003 and December 31. 2007, secured by a deed of trust on his California

          real estate. At all times material hereto, American Home Mortgage Servicing Inc has acted as

          Servicer or some other control capacity over processing the loan, with a principle balance of

          about $345,374.00

                 b6.       Plaintiff EFREN RAM1N are member of NOAH-CA residing in the State of

          California, who borrowed money from American Mortgage Network or its subsidiaries or

          affiliates between January ], 2003 and December 31, 2007, secured by a deed of trust on his

          California real estate. At all times material hereto, American Home Mortgage Servicing Inc has

  IS I,   acted as Servicer or some other control capacity over processing the loan, with a principle

  16
          balance ofabout $713,350.00
  t~
                 67.       Plaintiff EMERITA ROSS are member of NOAH-CA residing in the State of
  is
          California, who borrowed money from Secured Mortgage or its subsidiaries or affiliates bet~~een
  19 ~

          January 1,?003 and December 31, 2007, secured by a deed of trust on his California real estate.
  Zo

  21      At all times material hereto, Select Portfolio Services has acted as Servicer or some other

  22      control capacity over processing the loan, with a principle balance of about $360,000.00

  23
                 68.       Pisintiff KHLOEUNG YOU are member of NOAH-CA residing in the State
  to
          of California, who borrowed money from Americas Wholesale Lender or its subsidiaries or
  ~s
          affiliates between January 1, 2003 and 'December 31, 2007, secured by a deed of trust on his
  26
          California real estate. At all times material. hereto, Select Portfolio Services has acted as
  n

  is                                                     zo
                                                     COMPLAINT


                                                                                            EXHIBIT 1   -33-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 40 of 100 Page ID #:1335




          Servicer or some other control capacity over processing the loan, with a principle balance of

    2     about $76,000.00
    3
                 69.         Plaintiff KHLOEUNG YOU are member of NOAH-CA residing in the State
    J
          of California, who borrowed money from Americas Wholesale Lender or its subsidiaries or
    S

          affiliates aetween January 1, 2003 and December 31, 2007, secured by a deed. of trust on liis
   6

    1 '   California real estate. At all times material hereto, Select Portfolio Servicing lnc has acted as

    S     Servicer or some other control capacity o~~er processing the loan, with a principle balance of

   9      about $85,00.00
   io
                 70,         Plaimiff MINH LY a member of NOAH-CA residing in the State of California,
   ~I
          who borrowed money from Century Mortgage Corporation              or .its subsidiaries or affiliates
   iz
          between January 1, 2003 and December 3l, 2007, secured by a deed of trust on her California
   13

   is     real estate. At all times material hereto, Select Portfolio Services has acted as Servicer or some

   is     other control capacity over processing the loan, with a principle balance of about $440,000.00.

   16
                 71.         Plaintiff JOSE CRUZ are member of NOAH-CA residing i~a the State of
   i~
          California, who borrowed money from Master Financial Inc or its subsidiaries or affiliates
   ~s
          between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
   19
          real estate. At all times material hereto, Select Portfolio Servicing has acted. as Servicer or some
   zo
   ~~     other control capacity over processing the loan, with a principle balance of about $218,738.00

   Zz            72.         Plaintiff R~ICHEL LICUANAN are member of NOAH-CA residing in the
   z3
          State of California, who borrowed money from Green Point .Mortgage or its subsidiaries or
   24
          affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   25
          California real estate. At all times material hereto, Select Portfolio Servicing Inc has acted as
  2b

   27

   28 ~
                                                          21

                                                      COMPLAINT


                                                                                              EXHIBIT 1    -34-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 41 of 100 Page ID #:1336




    r     Servicer or some other control capacity over processing the loan, with a principle Ealance of

          about $34$,374.U0
   3
                 73.       Plaintiff ALBERT SANFORD are member of NOAH-CA residing in the State
   a
          of California, who borrowed. money from Mirad Financial Group or its subsidiaries or affiliates
   s
          between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
   6

          real estate. At all times material hereto, Select Portfolio Servicing; has acted as Servicer or some

   s      other control capacity over processing the loan, with a principle balance oFabout $ 05,000.00
   9
                 74.       Plaintiff JESUS OROZCO are member of NOAH-CA residing in the State of
  10
          California, who borrowed money.from Ace Mortgage Funding or its subsidiaries or affiliates
  t~
          between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
  ~2
          real estate. At all times material hereto, Select Portfolio Servicing has acted as Services or some
  13

  14      other.control capacity over processing the loan, with a principle balance of about $382,SOQ.00

  IS             75.       Plaintiff MICHAEL MCCARTHY a member of NOAH-CA residing in the
  16
          State of California, who borrowed money from 1NG DIRECT or its subsidiaries or affiliates
  ~~
          between January 1, 2003 and December 31, 2007, secured by a deed of trust on her California
  is
          real estate. At all times material hereto. iNG Direct has acted as Services or some other control
  19
          capacity o~•er processing the loan ~vi~h a principle balance of$600,000.00
  zo
  2~             76.       Plaintiff MODESTO JAOJOC4 a member of NOAH-CA residing in the State

  22      of California, ~vho borrowed money from First Franklin a Division of Nat City Bank or its
  23
          subsidiaries or affiliates between January 1,.2003 and December 31, 2007, secured by a deed of
  2a
          trust on their California real estate.   At all times material hereto, SELECT PORTFOLIO
  ~s
          SERVICES has acted as Services or some other control capacity over processing the loan, with a
  26

  27 I
          principle balance ofabout $560.000.00

  28 I~
                                                          22

                                                      COMPLAINT


                                                                                              EXHIBIT 1    -35-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 42 of 100 Page ID #:1337




   i          77.        Plaintiff' GEORGE ROXAS a member of NOAH-CA residing in the State of

       California, who borrowed money from 1NG BANK FSB or its subsidiaries or affiliates between
   3
       January 1, 2003 and December 31, 2007, secured by a deed of trust on their California real
   a
       estate. At all times material hereto. iNG DIRECT has acted as Servicer or some other control
   s
       capacity over processing the loan, with a principle balance of about $500,000.00
   6

   z          7S.       Plaintiff EDEN HERRERA are member of NOAH-CA residing in the State of

   R   California, who borrowed money from Bank United, FSB or its subsidiaries or affiliates between
   9
       January I, 2003 and December 31, 2007, secured by a deed of trust on his California real estate.
  ~o
       At all times material hereto, .Bank United, FSB has acted as Servicer or some other control
  i~
       capacity over processing the loan, with a principle balance of about $410,040.00
  ~2

  13
              79.       Plaintiff JAY McREYNOLDS are member ofNOAH-CA residing in the State

  is   of California, who borrowed money from Bank United, FSB or its subsidiaries or affiliates

  15   between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
  is
       real estate. At all times material hereto, Banl: United, ESB has acted as Servicer or some other
  17
       control capacity over processing the loan, with a principle balance of about $
  ~a
              80.        Plaintit~ RAMON QUIZON are member ofNOAH-CA residing in the State of
  19

  zo   California, who borrowed money from Bank United, FSB or its subsidiaries or affiliates between

  Z~   January 1, 2003 and December 31, 2U07, secured by a deed of trust on his California real estate.

  ~2   At all times material hereto, Bank United, FSB has acted as Servicer or some other control
  23
       capacity over processing the loan, with a principle balance of about $765,407.48
  2a
              81.        Plaintiff BULMARO MALDONADO aze member of NOAH-CA residing in
  25
       the State of California, who borrowed money from Bank United, FSB or its subsidiaries or
  26

  z~   affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his

  is                                                   23

                                                   CUMPLAIM'


                                                                                          EXHIBIT 1   -36-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 43 of 100 Page ID #:1338




        California real estate. At all times material hereto, Bank United, FSB'has acted as Servicer or
    A
        some other control capacity over processing the loan, with a principle balance of about
   3
        $432,000.0.
    4
               82.       Plaintiff R~pITHA CAMACHO are member of NOAH-CA residing in the
   s
        State of California; who borrowed money from :Bank United, FSB or its subsidiaries or affiliates
   6

        between January 1, 2003 and December 31, 2007, secured by a deed of oust on his California

   s    real estate. At all times material. hereto, Bank United, FSB has acted as Servicer or some other
   9
        control capacity over processing the loan, with a principle balance of about $1,009,495.71
   ~o
               83.       Plaintiff IGR1D AGRA are member of NOAH-CA residing in the State of
   ii
        California, who borrowed money from Option One Mortgage or its subsidiaries or affiliates
   iz
        between January I , 2003 and December 3 I,2 07, secured by a deed of trust on his California
   13

   is   real estate. At all times material hereto, Qption One Mortgage has acted as Servicer or some

   is , other control capacity over processing the loan, with a principle balance of about ~297,727A3

   16
               84.       Plaintiff MARIA LOURDES CABRERQS                  are member of NOAH-CA
   i~
        residing in the State of California, who borrowed money from Option One Mongage or its
   I8
        subsidiaries or affiliates between .lanuary 1, 2003 and December 31, 2007, secured by a deed of
   I4

        trust on his California real estate. At all times material hereto, Option One Mortgage has acted
   20

   ~i   as Servicer or some other control capacity over processing the loan, with a principle balance of

   zz   aboui $427,450.00.
   23
               85.       Plaintiff LOTA BAUTISTA are member of NOAH-CA residing in the State
   za
        of California, who borrowed money from People's Choice Home or its subsidiaries or a~liaies
  zs
        between January 1, 2003 and December 31, 2007, secured by a deed. of trust on his California
  26

   27

  ?g
                                                       2d

                                                   COMPLAITIT


                                                                                          EXHIBIT 1     -37-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 44 of 100 Page ID #:1339




                                                                                                 some
        real estate. At all times material hereto. People's Choice Home has acted as Servicer or

        other control capacity over processing the loan, with a principle balance of about $384,000.00.
   3
               86.        Plaintiff CVANGELlNE BRIGHAM are member of NOAH-CA residing in
    a
        the State of California, 4vho borrowed money from Beneficial California lnc or its subsidiaries
    s
        or affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   6

        California real estate. At all times material hereto. Beneficial California Inc has acted as

        Se~rvicer or some oilier control capacity over processing the loan, with a principle balance of

        ~ about 5577,412.26.

               87.        Plaintiff ARTHUR LINDSEY are member of NOAH-CA residing in the State

        of California, who borrowed money from Beneficial California lnc or its subsidiaries or

        affiliates between January l t 2003 and Decembers 1, 2047, secured by a deed of trust an his

   is   California real estate. At all times material hereto, Beneficial California lnc . has acted as

   is   Servicer or some other control capacity over processing the loan, with a principle balance of
   Ib   ~ about $642,332.35.
   i~
                $$.       Plaintiff FELIGIDAD DIAZ are member of NOAH-CA residing in the State
   ~s
        of California, who borrowed money from Beneficial California lnc or its subsidiaries or
   19
        affiliates between January I, 2003 and December 31, 2007, secured by a deed of trust on his
   10

   21   California real estate. Ai aJl times material hereto, Beneficial' California Inc has acted as

  ,Z ~ Services or some other control capacity over processing the loan, with a principle balance of

   23   ~ about $426,089.98.
   24
                89.       Plaintiff MARIANO PINEDA are member ofNOAH-CA residing in the State
   zs
        of California, who borrowed money from Beneficial California Inc or its .subsidiaries or
   2b

   2~
        ~ ~liates between. January l, 2003 and December 31, 2007, secured by a deed. of trust on his

   28
                                                       25

                                                   COA~IPLAIN'P


                                                                                           EXHIBIT 1      -38-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 45 of 100 Page ID #:1340




    i      California real estate. At all times material hereto, Benificial California Inc has acted as

           Servicer or some other control capacity over processing the loan, with a principle balance of
    3
           about $483,933.97.
    a il
                  90.       Plaintiff RODOLFO CAIR~L are member of NOAH-CA residing in the State
    ~ I
           of California, who borrowed money from HSBC Mortgage Corp or its subsidiaries or affiliates
   6

   7       between January I, 2003 and December 31; 2007, secured by a deed of trust on his California

    x      real estate. At all times material hereto. HSBC Mortgage Corp has acted as Servicer or some
   9       other control capacity over processing the loan, with a principle balance of about $395087.51.
   ~o
                  91.       Plaintiff PLINYLOU FOP+iDEV1LLA are member of NOAH-CA residing in

           .the State of California, who borrowed money from Wilmington Finance or its subsidiaries or
   t2
           affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   13

   is      California real estate. At all times material hereto, HSBC Mortgage Corp has acted as Servicer

   is      or some other control capacity over processing the loan, with a principle balance of about

   15
           $360,000.00
   i~
                  92.       Plaintiff MARIAN      TADEO are member of NOAH-CA residing in the State
   is
           of California, who borrowed money from Household Finance Corporation or its subsidiaries or
   19
           affiliates between January 1, 2003 and December 31, ?007; secured by a deed of trust on his
   zo
   ~~      California real estate. Al all times material hereto, HSBC Mortgage Corp has acted as Servicer

   z2      or some other control capacity over processing the loan, with a principle balance of about

   23      $407,991,98.
   za
                  93.       Plaintiff MANUBL NERNANDEZ are member of NOAH-CA residing in the
   zs
           State of California, who borrowed money from Fieldstone Mortgage Company                  or its
   26

   z~      subsidiaries or affiliates between January 1, 2003 and December 31, 2007, secured by a deed of

   2s I                                                   26

                                                      COMPLAINT


                                                                                             EXHIBIT 1      -39-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 46 of 100 Page ID #:1341




            trust on his California real estate. At all times material hereto, HSBC Mortgage Corp has acted

   z        as Servicer or some other control capacity over processing the loan, with a principle balance of
   3
            about. $231,920.OD.
   a
                   94.       Plaintiff JOSE MENDCZ are member of NOAH-CA residing in the State of
   S

            California, who borrowed money from HSBC Mortgage Corp or its subsidiaries or affiliates
   6

   7        between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California

   8        real estate. At all times material hereto, HSBC Mortgage Carp has acted as Servicer or some

   9
            other control capacity over processing tl~e loan, with a principle balance of about $470,287.40.
   ►o
                   95.       Plaintiff MARGA GARCIA are member of NOAH-CA residing in the State
  i~
            of California, who borrowed money from Horne American Credit, lnc or its subsidiaries or
  iz
        I
            affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
  i3 I
   is       Califomia:real estate. At gll times material hereto, HSBC Mortgage Corp has acted as Servicer

  15        or some other control capacify over processing the load, with a principle balance of about
   16
            $372,000.00.

                   96.        Plaintiff CARLITO BUGAS are member of NOAH-CA residing in the State
   ~g
            of California, who borrowed money from CTW Financial Services              or its subsidiaries or
  19
            affiliates between January 1, 2003 and December 31, 2007. secured by a deed of trust on his
  24

  ?~        California real estate. At all times material hereto, Gateway Bank. has acted as Services or some

  22        other control capacity over processing the loan, with a principle balance of about $367,667.32.

  23
                   97.       Plaintiff KATHRYN COWAN aze member ofNOAH-CA residing in the State
  za
            of California, who borrowed money from PHH Mortgage or its subsidiaries or affiliates between
  Zs '
            January l,, 2003 and December 31, 2007, secured by a deed of trust on his California real estate.
  26

  27

  28
                                                            27

                                                        COMPLAINT


                                                                                                EXHIBIT 1      -40-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 47 of 100 Page ID #:1342




        At ail times material hereto, PH.H Mortgage has acted as Servicer or some other control capacity

        over processing the loan, with a principle balance of about X591,639.92.
    3
               98.       Plaintiff MIRIAM ZUNiGA are member of NOAH-CA residing in the State
    a
        of California, who borrowed money from Landmark Nome Mortgage Inc or its subsidiaries or
   5
        affiliates behveen January 1, ?003 and December 31, 2047, secured by a deed of trust on his
   6

        California real estate. At all times material hereto, PHH Mortgage has acted as Servicer or some

   8    other control. capacity over processing the loan, with a principle balance of about $540,000.00.

   9
               99.       Plaintiff PATRICIA DOMINICUS are member of NOAH-CA residing in the
   ~o
        State of California, who borrowed money from Long Mortgage Company or its subsidiaries or
   ~~
        affiliates between January 1, 2003 and December ~l, 2007, secured by a deed of trust on his
   ~z
        California real estate. At all times material hereto, Cenlar Loan. Administration has acted as
   13

   Id   Servicer or some other control capacity over processing the loan, with a principle balance of

   is   about $443,423.61.

   Ib
                100.      Plaintiff ISABEL FERNANDEZ are member of NOAH-CA residing in the
   i~
        State of California, who borrowed money from Interbay Funding,LLC or its subsidiaries or
   is
        affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   19

        California real estate. At alt times material hereto, BayviewLoan Services has acted as Servicer
   Zo
  ,~    or some other control capacity over processing the loan, with a principle balance of about

   ~z   $455y000.00

   23
               101.      Plaintiff GLORIA ENRIQUEZ are member of NOAH-CA residing in the
  Za
        State of California, who borrowed money from South Pacific Financial Corporation or its
   ~~
        subsidiaries or affiliates between January 1, ?003 and December 31,2007, secured by a deed of
  26
             on his California real estate. At all times material. hereto, First Federal Bank of California
   n ' trust
   ~8
                                                        38

                                                    COMPLAINT


                                                                                            EXHIBIT 1      -41-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 48 of 100 Page ID #:1343




          has acted as Servicer or some other control capacity over processing the loan, with a principle

          balance of about $493,299.65.
   3
                 102.      Plaintiff JOSELITO FABIONAR are member of NOAH-CA residing in the
   a
          State of California, who borrowed money from First Federal Bank of CA or its subsidiaries or
   s
          affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   .r ~
          California real estate. At all times material hereto, First Federal Bank of California has acted as

   S      Servicer or some other control capacity over processing the loan, with a principle balance of

   9      about $493,299.65.
   io
                 103.      Plaintiff WILFREDO FLlNTAN1LLA are member of NOAH-CA residing in
   ii
          the State of California, who borrowed money from First Federal Bank of CA or its subsidiaries
   ~2
          or affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   13

   Id     California real estate. At all times material hereto, First Federal Bank of California has acted as

   ~i     Servicer or some other control capacity over processing the loan, with a principle balance of

   1G     about $640,000.00.
   i~
                 104.      Plaintiff ROSELLYN ROQUE are member ofNOAH-CA residing in the State
   is
          of California: who borrowed money from First Federal Bank of CA or its subsidiaries or
   19
          affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
  zo

  21      California real estate. At all times material hereto. First Federal Bank of California has acted as

  ~?      Servicer or some other control capacity over processing the loan. with a principle balance. of

  23
          about $295,520.28.
  24
                 145.      Plaintiff VIRGINIA SEBASTIAN are member of NOAH-GA residing in the
  25
          State of California, who borrowed money from First Federal Bank of GA or its subsidiaries or
  26
          affiliates between January 1; 2003 and December 31, 2007, secured by a~ deed of trust on .his
  z-r

  is                                                     29

                                                     C4MPI,AINT


                                                                                             EXHIBIT 1    -42-
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    i ~ California real estate. At all times material hereto, First Federal Bank of California has acted as

        Servicer or some other control capacity over processing the loan, with a principle balance of
   3
        ~ about $448,000.00.
   a
                106.      Plaintiff SENEN OCHOA are member of NOAH-CA residing in the State of
   5
        California, who borrowed money from First Franklin Loan Services or its subsidiaries or
   F
        affiliates between January 1, ?003 and December 31. 2007, secured by a deed of trust on his

   A    California real estate. At all times material hereto, First Franklin Loan Services has acted as
   9    Servicer or some other control capacity over processing the loan, with a principle balance of
   io
        ~ about $504,000.00.
   it
                107.      Plaintiff DANNY GARO are member of NOAN-CA residing in the State of
   i~
        California, who borrowed money from Federal Saving Bank or its subsidiaries or affiliates
   i~

   14   between January 1, 2003 and December 31, 2U07? secured by a deed of trust on his California

   is   real estate. At all times material Hereto, Sovereign Bank has acted as Servicer or some other
   16
        ~ control capacity over processing the loan, with a principle balance of about $493,299.65.
   ~~
                108.      Plaintiff ALLISON GORE are member of NOAH-CA residing in the State of
   is
        California, who borrowed money from The Member Own FCU or its subsidiaries or affiliates
   19
        between January 1, 2003 and Deczmber 31, 2007, secured by a deed of trust on his California
  zo
  ~i    real estate. At all times material hereto, Midwest Loan Services has acted ~s Servicer or some

  z2    other conUol capacity over processing the loan, with a principle balance of about $579,715.00.
  23
                109.      Plaintiff CEC1Ll0 GONZALEZ are member of NOAH-CA residing in the
  za
        State of California, who borrowed money from Washington Mutual Bank, FA or its subsidiaries
  is
        or affiliates between January 1, 2003 and December 3.1, 2007, secured by a deed of crust on his
  26

  2~
        California real estate. At all times material hereto, UNION BANK has acted as Servicer or

  28
                                                        30

                                                    COMPLAINT


                                                                                            EXHIBIT 1    -43-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 50 of 100 Page ID #:1345




        some other control capacity over processing the loan, with a principle balance of about

   z ~ $435,000.00.

   3
                1. 10.    Plaintiff MANOLO GONZALES are member of NOAH-CA residing in the

        State of California, who borrowed money from Banco Popular,NA            or its subsidiaries or
   s
        ~liates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   6
        California real estate. At all times material hereto, Banco Popular, NA has acted as Servicer or

   s    some other control capacity over processing the loan, with a principle balance of about

   9    $413,954.00.
   iu
                l]1.      Plaintiff JEANNIE HA are member of NOAH-CA residing in the State of
   ii
        California, who borrowed money from Provident Funding Associates,LP or its subsidiaries or
   i?
        affiliates between January 1, 2003 and December 31, 2007, secwed by a deed of trust on his
   13

   14   California real estate. At all times material hereto, Provident Funding Associates,LP has acted

   13   as Servicer or some other control capacity over processing the loan, with a principle balance of

   Ib   ~ about X253,604.00
   i~
                1 12.     Plaintiff JOSELITC) FABIONAR are member of NOAH-CA residing in the
   is
        State of California, who t~orrowed money from First Federal Bank. of CA or its subsidiaries or
   19
        affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   zo

   21   California real estate. At al! times material hereto, Provident Funding Associates, LP has acted

   ~2   as Services or some other control capacity over processing the loan, with a principle balance of

   23   ~ about $493,299.65.
   za
                1.13,     Plaintiff TIN NGUYEN are member of NOAH-CA residing in the State of
   25
        California, who borrowed money from Concord Mortgage Company or its subsidiaries or
   2b
        affiliates between January 1, 2003 and December 3}, 2007, secured by a deed of trust on his
   27

   28
                                                      31

                                                  COMPLAINT


                                                                                         EXHIBIT 1   -44-
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          California real estate. At all times material hereto, Provident Funding Associates, LP has acted

          as Servicer or some other control capacity over processing the loan, with a principle balance of

          about $331,617.00.

                 1 14.      Plaintiff ROEL VI.LLANUEVA are member of NOAH-CA residing in the

          State of California, who borrowed money from Provident Funding Associates, LP                 or its
   6

   7      subsidiaries or affliates betv~~~en Ianuary 1, 2003 and December 31; ?007, secured by a deed of

   s      trust on his California real estate. At all .times material hereto, Provident. Funding Associates, LP

   9      has acted as Servicer ur some other control capacity over processing the loan, with a principle
  ~o
          balance of about $484,000.00.
  ►t
                 115.       Plaintiff NICOLAS GARCIA are member of NOAH-CA residing in the State
  R
          of California, who borrowed money from Opteum Financial Services, LLC or its subsidiaries or
  13

   14     affiliates between January 1, 2003 and December 31, ?007, secured by a deed of trust on his

  is      California real estate. At all times material hereto, Everhome Mortgage Com has acted as
  16      Servicer or some other control capacity over processing the loan, with a principle balance of
  17
          about $4] 5,000.00.
   ~r:~
                 1 16.      Plaintiff NANSHI [GNACIO are member of NOAH-CA residing in the State
   19
          of California, who borrowed money from Aegis Wholesale Gorp or its subsidiaries or affiliates
  20

  21      between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California

  22      real estate. At all times material hereto, Aegis Wholesale Corp has acted as Servicer or some
  23      other control capacity over processing the loan, with a principle balance of about $400,000.00.
  2~1
                 117.       Plaintiff AUGUSTO PAGTAKI~AN are member of NOAH-CA .residing in
  as
          the State of California, who borrowed money from BG Bancorp or its subsidiaries or affiliates
  26
          between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
  27

  28
                                                          32

                                                      COMPLAINT


                                                                                               EXHIBIT 1    -45-
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   i   real estate. At all times material hereto, Wilshire Credit Corporation has acted as Servicer or

  z    some other control capacity over processing the loan, with a principle balance of about
  3
       ~ $749,999.00.
   a
               1 18.     Plaindf~' RENATO VIR.AY are member of NOAH-CA residing in the State of
   s
       California, who borrowed money from community Lending, !nc or its subsidiaries or affiliates
  6

       between January 1; ?003 and .December 3l, 2007, secured by a deed of trust on his California

   A   real estate. At all times matzrial hereto, Wilshire. Credit Corporation has acted as Servicer or

  9    some other control capacity over processing the loan, with a principle balance of about
  io
       ~ $491,250.00.
  II
               1 19.     Flaintiff ALICIA CORNE)O are member of NOAH-CA residing in the State
  ~2
       of California, who borrowed money from First Street Financial Inc or its subsidiazies or
  13

  is   affiliates between January .l, ?003 and December 31, 2007, secured by a deed of trust on his

  is   California real estate. At all times material hereto, Wilshire Credit Corporation has acted as

  16
       Sen~icer or some other control capacity over processing the Juan, with a principle balance of
  ~~
       ~ about $577,583.01.
  is
               120.      Plaintiff PABLO KISC,ANKA are member of NOAH-CA residing in the State
  19

       of California, who borrowed money from Transnational Financial Network or its subsidiaries or
  zo

  21   affiliates between January I, 2003 and December 31, 2007, secured by a deed of trust on his

  ~y   California real estate. At al! times material hereto, TMST Home Loans [nc has acted as Servicer

  23
       or some other coniml capacity over processing the loan, with a principle balance of about
  Za
       ~ $620,000.00
  25
               121.      Plaintiff PABLO KISLANKA are member of NOAH-CA residing in the State
  26
       of California, who borrowed money from Wells Fargo Bank,NA or .its subsidiaries or affiliates
  27

  28
                                                     ]
                                                     3

                                                 COA~PLAINT


                                                                                        EXHIBIT 1   -46-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 53 of 100 Page ID #:1348




    i     between January 1, 2003 and December 31, 2007, secured by a deed of trust on his Califom.ia
   z      real estate. At all times material hereto. TMST Home Loans lnc has acted as Servicer or some
   3
          other control capacity over processing the loan, with a principle balance of about $300,00.00
   a
                 1 22.     Plaintiff SUZANNE LOBATO are member of l~OAH-CA residing in the

          State of California, who borrowed money from Guaranty Residential Lending, Inc              or its
   6

          subsidiaries or affiliates between January 1, 2003 and December 31, 2007, secured by ~a deed of

   s      trust on lus California real estate. At all times material hereto, Nationstar Mortgage LLC has
   9
          acted as Servicer or some other control capacity over processing the loan, with a principle
   io
          balance ofabout $278~000.00.
   t~
                 123.      Plaintiff ZENY MAE HARRINGTO~I are member of NOAH-CA residing in
  is
          the State. of California, who borrowed money from Nationstar Mortgage LLC or its subsidiaries
   13

   ~~~ or affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his

   IS I   California real estate. At all times material hereto, Nationstaz Mortgage LLC has acted as
   16
          Servicer or some other control capacity over processing the loan, with a principle balance of
   i~
          about $540,000.00
   is
                 124,      Plaintiff HiEU NGUYEN are member of NOAH-CA residing in the State of
   19

          California, who borrowed money from Wilmington Finance, Inc or its subsidiaries or affiliates
  io

  2~      between January 1, 2403 and December 31, 2007, secured by a deed of trust on his California

  22      rea) estate. At all times material hereto, MOR Equity has acted as Servicer or some other
  23
          control capacity over processing the loan, with a principle balance of about $441,750.00.
  za
                 125.      Plaintiff XIONGH T'HAO are member of NOAH-CA residing in the State oi'
  25
          California, who borrowed money from Nationstu Mortgage LLC or its subsidiaries or affiliates
  26

  27
          between January 1, 2003 and December 3l, 2007, secured by a deed of trust on his California

  28
                                                         34

                                                     COMPLAINT



                                                                                             EXHIBIT 1    -47-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 54 of 100 Page ID #:1349




    i   real estate. At all times material hereto, Freedom Mortgage Corporation has acted as Servicer or

        some other control capacitor over processing the loan, with a principle balance of about
   3
        ~ $280,78QA0.
   4
                126.     Plaintiff BOUA TFlAO are member of NOAH-CA residing in the State of
   s
        California, who borrowed money from National City Bank or its subsidiaries or affiliates

        between January 1, 2003 and December 31, 2007, secured. by a deed of trust on his California

   s    real estate. At all times material hereto, Freedom Mortgage Corp has acted as Servicer or some
   9    other control capacity over processing the loan, with a principle balance of about $285,000.00
   io
                127.      Plaintiff MICI-IAEL PHAN are member of NOAH-CA residing in the State of
   ii
        California, who borrowed money .from Fremont investrnent &Loan or its subsidiaries or
   i?
        affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   13

   is   California real estate. At all times material hereto, Carrington Mortgage Service has acted as

   ~s   Servicer or some other control capacity over processing the loan, with a principle balance of
   16   ~ about.$475.000.00
   17
                1 28,     Plaintiff IRENEO PADILLA are member of NOAH-CA residing in the State
   is
        of California, who borrowed money from Long Beach Mortgage Co or its subsidiaries or
   19
        affiliates between January I, 2003 and December 31, 2007, secured by a deed of trust on his
   zo

  zi    California real estate. At all timed material hereto, Long Beach Mortgage Co has acted as

   3?   Servicer or some other control capacity over processing the loan, with a principle balance of
   23   ~ about $441,338.92.
  za
                129.      Plaintiff MANUEL VILLANEDA are member of NOAH-CA residing in the
   25
        State of California, who borrowed money from SunTrust Mortgage lnc or its subsidiaries or
  26
        affiliates between January 1, 2003 and December 31, 2007, secured by a deed of mist on his
  z~

   za                                                  35

                                                   CQMPLAINT


                                                                                          EXHIBIT 1      -48-
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    ~   California real estate. At all times material Hereto, SunTrust Mortgage lnc has acted as Servicer

   Z    or some other control capacity over processing the Ioan, with a principle balance of about

   3    $252,000.00.
   d
               130.      Plaintiff CASSANDRA ANDRES are member of NOAH-CA residing in the
   S
   6    State of California, who borrowed money from SunTrust Mortgage lnc or its subsidiaries or

   7    affiliates between January I, 2003 and December 31; 2007, secured by a deed of trust on his

   s    California real estate. At all times material hereto. SunTrust Mortgage Inc has acted ac Servicer

   9    or some other control capacity over processing the loan, with a principle balance of about

  ~~    $417,004.00.
  ~i
               131.      Plaintiff GUADALUPE GALVEZ are member of NOAH-CA residing in dte
  ii
  13    State of California, who borrowed money from. SunTrust Mortgage lnc or its subsidiaries or

   14   affiliates between .fanuary 1, ?003 and December 31, 2007, secured by a deed of trust on his

  is    California real estate. At all times material hereto, SunTrust. Mortgage Inc has acted as Servicer

   16   or some other control capacity over processing the loan, ~~ith a principle balance of about
  i~
        $315,000.00
  I8
               132.      Plaintiff CELESTE RODGERS are member of NOA1-I-CA residing in the
  19
  Zo    State of California, who borrowed money from National City Bank or its subsidiaries or affiliates

  Zi    between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California

  ??    real estate. At all times material heretot PNC Financial Services has acted. as Servicer or some

  23    other control capacity over processing the loan, with a _principle balance of about $317,000.00
  24
               133.      Plaintiff JUDY BARTOLOME are member of NOAH-GA residing in the
  is
        State of California, who borrowed money from BNG Mortgage Inc or its subsidiaries or affiliates
  26
  ~~    between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California


  28                                                   3b

                                                   COMPLAINT


                                                                                           EXHIBIT 1      -49-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 56 of 100 Page ID #:1351




    i     real estate. At all times material hereto,PNC BANK has acted as Servicer or some other control

          capacity over processing the loan, with a principle balance of about $442,000.00
   3
                 134.      Plaintiff ALLEN RICHAR.DSON are member of NOAH-CA residing in the
   4
          State of California, who borrowed money from Cathay Bank or its subsidiaries or affiliates
   5
   6      bet►veen January I, 2003 and December 31, 2007, secured by a deed of trust on his California

    7     real estate. At all times material hereto, Cathay Bank has acted as Servicer or some other control

    8     capacity over processing the loan, with a principle balance of about $

    9            1:i5.     Plaintiff ALLEN RICHARDSON are member of NOAH-CA residing in the
   ~o
          State of California, who borrowed money from Cathay BanJ: or its subsidiaries or affiliates
  i~
          between January 1, 20Q3 and December 31, 2007, secured by a deed of trust on his California
  iz
          real estate. At all times material hereto, Cathay Bank has acted as Servicer ~r some ocher control
   13

   is     capacity over processing the loan, with a principle balance ofabout $437,679.00

   15            136.      Plaintiff RA.MON ALAN are member of NOAH-CA residing in the State of

   ~ ~'   California, who borrowed money from First Horizon E-lome Loans or its subsidiaries or affiliates
   i~
          between 7anuary 1, 2003 and December 31, 2007, secured by a deed of trust on his California
   is
          real estate. At all times material I~ereto, Homecomings Financial has acted as Servicer or some
   ~9
  20      other control capacity over processing the loan, with a principle balance of about $350,933.68

  2i             137.      Plaintiff CIGERO VILLACORTA are member of NOAH-CA residing in the

   z2     State of California, who borrowed money from Homecomings Financial,. LLC or its subsidiaries

   23     or affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
  24
          California real estate. At all times material hereto, Homecomings Financial has acted as Servicer
  2s
          or some other control capacity over"processing the loan, with a principle balance of about
  2b
  27      $542,750.00.

  28
                                                          37

                                                      COMPLAINT'


                                                                                             EXHIBIT 1 -50-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 57 of 100 Page ID #:1352




    i            138.      Plaintiff MARIA ESQUIVAS are member of NOAH-CA residing in the State
   z
         of California, who borrowed money From American Brokers Conduit or its subsidiaries or
   3
         affiliates between January 1, 2003 and December 31, ?007, secured by a deed of trust on his
   4 1
         California real estate. At all times material hereto. Quantum Servicing Corp has acted as
   s
         Servicer or some other conUol capacity over processing the loan, with a principle balance of
   6

         ~ about $749,527.00.

   8             139.      Plaintiff JENNIFER FABIA are member of NOAH-CA residing in the State
   9
         of California, who borrowed money from First Street Financial, inc or its subsidiaries or
   ~o
         ~liates between January 1, 2003 and December 31, 2007, secured by a deed of mist on his
   t~
         California real estate. At all times material hereto, Quantum Servicing Corp has acted as
   ~2
         Servieer or some other control capacity over processing the loan, with a principle balance o~
   i~

   i~ ~ about $578,000.04

   IS            140.      Plaintiff ROBERI'O de ALBA are member of NOAH-CA residing in the State
   16
         of California, who borrowed money from Equifirst Corporation or its subsidiaries or affiliates
   ~~
         between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
   is
         real estate. At all times material hereto, Specialized Loan Servicing has acted as Servicer or
   19
         some other control capacity over processing the loan, with a principle balance of about
  2U

  ~, ~ ~a2~,oa~.ao.
  z~          141.         Plaintiff MARTHA VARGAS are member of NOAH-CA residing in the State
  23
         of California, who borrowed money from Acoustic Home Loan,LLC or its subsidiaries or
  Za
         ~liates between January 1, 2003 and December 31, 2007, secured by a deed of wst on .his
  zs
         California real estate. At all times material hereto, Specialized Loan Servicing has acted as
  26

  27

  28
                                                      38

                                                  COMPLi11N1'


                                                                                        EXHIBIT 1   -51-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 58 of 100 Page ID #:1353




    i   Servicer or some other control capacity over processing the loan, with a principle balance of

   z    about $352,000.00
    3
               142.      .Plaintiff VIRGILIO VILANO are member of NOAH-CA residing in the State
    a
        of California. who borrowed money from SCME ~9ortgage Bankers, INC or its subsidiaries or
   5
        affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   6

        California real estate. At all times material hereto, Specialized Loan Servicing has acted as

    s   Servicer or some other control capacity over processing the loan, with a principle balance of
   9    about $445,502.00.
   io
                43.      Plaintiff JOSE BALLTEROS are member of NOAH-CA residing in the State
   ii
        of California, who borrowed money from First Horizon .Home Loans or its subsidiaries or
   12
        affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   13

   14   California real estate. At all times material hereto, MET Life has acted as Servicer or some other

   is   control capacity over processing the loan, with a principle balance of about $280,792.00,
   16
               ]44.      Plaintiff MERL[TA LAVARIAS are member of NOAH-CA residing in the
   17
        State of California, who borrowzd money from Mirad Financial Group or its subsidiaries or
   is
        affiliates between January 1, ?003 and Decembrr 31, 2007, secured by a deed of frost on his
   19
        California real estate. At all times material hereto. Mirad Financial Group has acted as Servicer
   zu

   ti   or some other control capacity over processing the loan, with a principle balance of about

   z2 $608,000.00.

   23
               ]45.      Plaintiff. VIOLETA MARTINEZ are member of NOAH-CA residing in the
   2a
        State of California, who borrowed money from .Bayrock Mortgage Corporation or its subsidiaries
   2s
        or affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
  ?6

   z~   California real estate. At all times material hereto, Vanderbilt Mortgage has acted as Servicer or

   Za                                                  39

                                                   COMPLAINT



                                                                                          EXHIBIT 1    -52-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 59 of 100 Page ID #:1354




    i    some other control capacity over processing the loan, with a principle balance of about

   2     $571,500.00.
   3
                146.      Plaintiff RICARDO ALATOR.RE are member of NOAH-GA residing in the
    a
         State of California, who borrowed money from 3vtortgage IT, lnc or its subsidiaries or affiliates

   6sl   between January 1, 2003 and December 31, 2407, secured by a deed of trust on his California

         real estate. At all times material hereto, RCS has acted as Servicer or some other control

   s     capacity over processing the loan, with a principle balance of about $468,000.00.
   9
                147.      Plaintiff' DAN 1lANG are member of NOAH-CA residing in the State of
   ~o
         California, who borrowed money from Finance America, LLC or its subsidiaries or affiliates

         between January 1, 2003 and December 31, 2007, secured by a deed of trust on his California
   ~?
         real estate. At all times material hereto, Vericrest Financial, lnc has acted as Servicer or some
   t3

   is    other control capacity over processing the loan, with a principle balance of about $455,937.50.

   is           148.      Plaintiff ASCENCION CARILLO are member of NOAH-CA residing in the
   i~
         State of California, who borrowed monzy from ResMae Mortgage Corp or its subsidiaries or
   J7
         affiliates between January 1, 2003 and December 31, 2007, secured by a deed of trust on his
   tx
         California real estate. At all times material hereto, ResMae Mortgage Corp has acted as Servicer
   ~9
         or some other control capacity over processing the loan. with a principle balance of about
  zo

   2i    $341,250.00.

  Zz            149.       Plaintiff ANTONIO FLORES are member of NOAH-CA residing in the State
  23
         of California, who borrowed money from ResMae Mortgage Corp or its subsidiaries or affiliates
  za
         between January 1, 2Q03 and December 31, 2007, secured by a deed of trust on his California
  zs
         real estate. At all times material hereto. ResMae Mortgage Corp has acted as Servicer or some
  26
         other control capacity over. processing the loan, with a principle balance of about $l 97,600.00.
  27

  28                                                     aU

                                                     COMPLAINT


                                                                                             EXHIBIT 1   -53-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 60 of 100 Page ID #:1355




    i            150.      Plaintiff ANGEL MEDINA are member of NOAH-CA residing in the State of
   2
         California, who borrowed money from New Century Mortgage Corp or its subsidiaries or
   3
         affiliates between January I, 2003 and December 31, 2007, secured by a deed of trust on his
   a
         California real estate. At ali times material hereto, CMS has acted as Servicer or some other
   s
         control capacity over processing the loan, with a principle balance of about $217,600.04.
   6

   ~ i            51.      Plaintiff COCKY BULL are member of NOAH-CA residing in the State of

   g     California, who borrowed money from Dessert Community Bank or its subsidiaries or affiliates
   9
         between January 1, 2003 and December 31, ?007, secured by a deed of trust on his California
   io
         real estate. At all times material hereto, Dessert Community Hank has acted as Servicer or some
   ~i
         other control capacity over processing the Joan, with a principle balance of about $.
   12

   is            152.      Plaintiff VIRGINIA PANTALEOIV are member of NOAH-CA residing in the

   ~a    State of California, who borrowed money from GMAC Mortgage dba Cal Direct or its

   ~s    subsidiaries or affiliates between January l;2003 and December 31,2007, secured by a deed of
   16
         trust on his California real estate. At all times material hereto, CAL Direct Home Loan. has acted
   i~
         as Servicer or some other control capacity over processing the loan, with a principle balance of
   is
         ~ about $220,000.00.
   c~

  24
                 1 53.     Plaintiff Juan MANUEL are member of NOAH-CA residing in the State of

  ~i     California, vvho borrowed money from Prudential Lending lnc or its subsidiaries or affiliates

  2i      between January l,2003 and December 3 I , 2007, secured by a deed of trust on his California
  23
         real estate. At all times material hereto, Greenpoint Mortgage Funding has acted as Servicer or
  23
         some other control capacity over processing the loan, with a principle balance of about
  25
         ~ $584,000.00.
  26

  >>

  28                                                     41

                                                     COMr~.nniNT


                                                                                             EXHIBIT 1   -54-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 61 of 100 Page ID #:1356




   i            154.      Plaintiff ARACELI ABELEDA are member of NOAH-CA residing in the

        State of California, who borrowed money from Greenpoint Mortagage Funding or its
   3
       subsidiaries ur affiliates between January 1, 2003 and December 31, 2007, secured by a deed of
   4
       trust on his California real estate. At all times material hereto, Greenpoint Mortgage Funding
   s
       has acted as Servicer or some other control capacity over processing the loan, with a principle

       ~ balance of about $420,000.00.

                1 S5.   Plaintiffs THOMAS WONG a member of NOAH-CA residing in the State of
   y
       California, who borrowed money from Chevy Chase Bank, F.S.B or its subsidiaries or affiliates
  10
       between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
  ii
       real estate. At all times material herein, Capital One Mortgage has acted as Servicer or some
  i?
       other control capacity over processing the loan, with a principle balance of or about X932,000.
  13

  is            156.    Plaintiffs SALVADOR TELLO a member of NOAH-CA residing in the State of

  ~s   Gal~fornia, who borrowed money from Chevy Chase Bank, F.S.B or its subsidiaries or affiliates
  Ib
       between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
  t~
       real estate. At all times material hereto, Capital One Mortgage has acted as Services or some
  ►s
       other control capacity over processing the loan, with a principle balance of or about $419,388.66.
  19

  zo            157.    Plaintiffs AUGUSTIN LUGUE a member of NOAH-CA residing in thz State of

  zi   California, who borrowed money from B.F. Saul Mortgage Company or its subsidiaries or

  zt   affiliates between January 1, 2002 and December 31, 2007, secured by a deed of trust on their
  23
       California real estate. At all times material hereto. Capital One Mortgage has acted as Services
  24
       or some other control capacity over processing the loan, with a principle balance of or about
  2s
       '~ $572,850.
  26

  27

  28
                                                      42

                                                  COMPLAINT


                                                                                          EXHIBIT 1      -55-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 62 of 100 Page ID #:1357




    i          158.    Plaintiffs BENJAMIN CAPA a member of NOAH-CA residing in the State of
   z
        California, who borrowed money from First Federal Bank of California or its subsidiaries or
   3
        affiliates between January 1, 2002 and December 3l: 2007, secured by a deed of trust on their
   4
        California real estate. At all times material hereto, First Federal Bank of California/ West Point
   5
        has acted as Servicer or some other control capacity over processing the loan, with a principle
   6

        balance of or about $458,000.

   s           159.    Plaintiffs PAZ VERANO a member of NOAH-CA residing in the State of

        California, who borrowed money from GE Money Bank or its subsidiaries or affiliates between
   ~u
        January ]., 2002 and December 31, 2007, secured by a deed of trust on their California real
   ~t
        estate. At all times material hereto, GE Money Bank has acted as Servicer or some other conUol
   ~?
        capacity over processing the loan, with a principle balance ofor about $648,OU0.
  13

   ~a          160.    Plaintiffs SEUNG HEE UM a member of NOAH-CA residing in the State of

  13    California, who borrowed money from Universal American Mortgage Company of California or
   16
        its subsidiaries or affiliates between January 1, 2002 and December 31, 20Q7, secured by a deed
   ~~
        of trust on their California real estatz. At all times material Hereto, Universal American
   i~
        Mortgage Company of California has acted as Servicer or some other control capacity over
   19
        processing the loan, with a principle balance of or about $406,750.
  10

  z~           161.   Plaintiffs SEUNG HEE UM a member of NOAH-CA residing in the State of

  zz    California, who borrowed money from Westlend Financing, Inc. 4r its subsidiaries or affiliates
  z~
        between January 1, 2002 and December 31, 2007, secured by a deed of trust on their California
  Za
        real estate. At all times material hereto, Brenward Mortgage has acted as Servicer or some other
  25
        control capacity over processing the loan, with a principle balance of or about $384,000.
  1b

  27

  28                                                   43

                                                   COMPLAINT


                                                                                           EXHIBIT 1   -56-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 63 of 100 Page ID #:1358




   i            162.    Plaintiffs MARIA LOURDES MAGLUPAY a member of NOAH:-CA residing in

         the State of California, who borrowed money from BayR~ck Mortgage Corporation or its
   3
         subsidiaries or affiliates between January 1, 2002 and December 31, 2007, secured by a deed of
   a
         trust on their California real estate. At all times material hereto, BayRock Mortgage Corporation
  3
         has acted. as Servicer or some other control capacity over processing the loan, with a principle
  6

         balance of or about $468,000.

  s             163.   Plaintiffs JERROLD LLOPIS a member of IvOAN-CA residing in the State of
  9
         California, who borrowed money from F1RST FRANKLIN Corporation o.r its subsidiaries or
  ~o
         affiliates between January i, 2002 and December 31, 2007, secured by a deed of trust an their

         Catifomia real estate. At all times material hereto, FIRST FRANKLIN Corporation has acted as
  ~2
         Servicer or some ocher control capacity over processing the loan, with a principle balance of or
  13

  is     about $780.000.00.

  is i          164.   Plaintiffs ANTONIO ALVE a member of NOAH-CA residing in the State of
  16
         California, who borrowed money from FIRST FRANKLfN FA~IKLIN FINANCIAL CORD
  i~
         Corporation or its subsidiaries or affiliates between January 1, 2002 and December 3l, 2007,
  is
         secured by a deed. of trust on their California real estate. At all times material hereto, F1RST
  19
         FRANKLIN Corporation has acted as Servicer or some other control capacity over processing
  zo
  >>     the loan, with a principle balance of or about $335,200.00.

  22            165.   Plaintiffs MARY JEAN P[SCO a member of NOAH-CA residing in the State of
  23
         California, who borrowed money from Mortgageit, iNC or its subsidiaries or affiliates beh~veen
  24
         January 1, 2002 and December 31, 2007, secured by a deed of trust on their California real
  zs
         estate. At all times material hereto, FIRST FRANKLIN Corporation has acted as Servicer or
  26

  27

  28
                                                        44

                                                    COMPLAINT


                                                                                           EXHIBIT 1    -57-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 64 of 100 Page ID #:1359




   t   some other control capacity over processing the loan, with a principle balance of or about
   z   $480,000.00.
   3
               166.   Plaintiffs MENANDRO MIR.ANDA a member of NOAH-CA residing in the
   a
       State of California, who borrowed money from First Franklin Financial .Corp Corporation or its
   s
       subsidiaries or ~liates between January 1, 2002 and December 3l, 2007, secured by a deed of
  6

       trust on their California real estate. At all times material hereto, FTRST FRANKL[N Corporation

   s   has acted as Servicer or some other control capacity over processing the loan, with a principle
   9   balance of or about $452,400.00.
  io
              167.    Plaintiffs SENEN OCHOA a member of NOAH-CA residing in the State of
  ii
       California, who borrowed money From FIRST FRANKLIN Corporation or its subsidiaries or
  ~z
       affiliates between January I~, 2002 and December 31, 2007, secured by a deed of trust on their
  13

  is   California real estate. At all times material hereto, FIRST FRANKLIN Corporation has acted as

  ~5   Servicer or some other control capacity over processing the loan, with a principle balance of or
  16   about $511,032.00.00.
  i~
              168,    Plaintiffs NANCY HYSON a member of NOAH-CA rzsiding in the State of
  18
       California, who borrowed. money from RBMG, INC oc its subsidiaries or aH'iliates between
  19

  ~o   January 1, ?002 and December 31, 2007, secured by a deed of trust on their California real

  21   estate. At all times materi~ hereto. EVERHOME MORTGAGE has acted. as Servicer or some

  Zz   other control capacity over processing the loan. with a principle balance of or about $232,000.00.
  23
              169.      The other Plaintiffs, named as ROES 149 through 5000, are similarly situated
  24
       fo Plaintiffs identified above in that they too borrowed money &am the Defendants (as defined
  2s
       below) between the dates beginning on January 1, 2002 and ending on December 31, 2007,
  26

  ~~   secured by deeds of trust on their California realty. FuRher, at all times material. hereto,

  zs                                                  45

                                                  COR9PLAIPIT


                                                                                          EXHIBIT 1   -58-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 65 of 100 Page ID #:1360




   i   Defendants have acted as Servicer or in another capacity with respect to loan processing. All o.f

       the foregoing secured real estate loans made to Plaintiffs were wrongfully and fraudulently
   3
       handled and processed by Defendants, resulting in damages.
   a
               170.      Plaintiffs' counsel is aware of and has provided services to the remaining
   s
       unnamed Roe plaintiffs, each of whom has sustained actual injury. The remaining Roes sue
  6

  z    under their names fictitiously because they either wish to maintain their privacy or because

  8    Plaintiffs' counsel have not completed the due diligence necessary to properly plead their claims
  9    as of the filing of this Complaint. From time-to-time, upon conducting the due diligence and
  io
       learning the information sufficient to add remaining Roe Plaintiffs to this action, Plaintiffs shall
  ii
       seek leave of Court to amend this Complaint to name these additional Roe Plaintiffs, or will
  12
       Follow such other process as is prescribed by the Couri.
  13

  is           1 71.     An additional persons have contacted counsel or their staffs pertaining to the

  IS   matters complained of herein. to the event Plaintiffs believe it is in furtherance of judicial
  16
       economy and justice to all or any of these additional persons to this Complaint, Plaintiffs shall
  ~7
       bring a noticed motion to add such parties to this action. In die event Plaintiffs file a separate
  ~s
       lawsuit appertaining to all or any of these persons, or such further number as may exist in view
  19
       of future developments; Plaintiff's shall Fle all appropriate Notices of Related Cases in
  zo
  >>   •accordance with California law, or as otherwise directed by the Court.

  ii           172.      At all times material hereto, all Defendants operated through a common plan

  z~   and scheme designed to conceal the material facts set forth below from Plaintiffs, from the
  24
       California public and from regulators, either directly or as successors-in-interest for others of the
  u
       Defendants. The concealment was completed, ratified and/or confirmed by each Defendant
  26
       herein directly or as a successor —in-interest for another Defendant,. and each Defendant
  27

  28
                                                        46

                                                    COMPLAINT


                                                                                             EXHIBIT 1    -59-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 66 of 100 Page ID #:1361




   i      performed the tortuous acts as set forth herein for its own monetary gain and as a part. of a

   2      common plan developed and carried out with the other Defendants, or as asuccessor-in-interest

          to a Defendant that did the foregoing.
   a
                 173.      The true names and capacities of the Defendants .listed herein as DOES 2
   s
          through 1,000 are unknown to Plaintiffs who therefore sue these Defendants by such fictitious
  6

          names. Each of the DOE Defendants vvas the agent or each of the other Defendants herein,

   s      named or unnamed, and thereby participated in all of the wrongdoing set forth herein. On

  9       information and belief, each such Defendant is responsible For the acts, events and concealment
  ~o
          set forth herein and is sued. for that reason. Upon learning the true names and capacities of the
  ii
          DOE Defendants, Plaintiffs shall amend this Complaint accordingly.
  ~~
                 1 74.     Defendants' public disclosures, as re.flecced in its ~itings with the SEC, make
  13

  14      clear that Defendants considers itself both a common.enterprise operating as a greater whole and

  ~s      without meaningful distinctions as [o its operating units, and the successor to Defendants and. its

  16      subsidiaries.
  i~ '
                 175.      Plaintiffs are informed and believe, and thereon allege, that: (i) Defendants and
  is I~
          its wholly-owned and convolled subsidiaries are liable for all wrongful acts of Defendants prior
  ~9
          to the date thereof as the successor-in-interest to Defendants,(ii) Defendants directly and through
  zo
  21      its subsidiaries and other agents sued herein as Does have continued the unlawful practices of

  za      Defendants, including, without limitation thereof, writing fraudulent mortgages as set forth
  23
          above and concealing wrongful acts that occurred in whole or in part prior thereto, and (iii)
  24
          Defendants and its subsidiazies are jointly and severally liable as alter egos and as a single,
  is
          greater unified whole.
  2b
                                                   GENERAL FACTS
  2~

  28                                                      47

                                                      COMPLAINT


                                                                                              EXHIBIT 1   -60-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 67 of 100 Page ID #:1362




   i             176.       The common facts herein include those facts set forth above in the prior
   z ~ sections of this Complaint.
   3
                 1 77.      Under California Givil Code § 1709 it is unlawful to willfully deceived another
   a
        ~ "with intent to induce him to alter his position to his injury or risk."
   5
   6             178.       Under California Givil Code § 1710, it a "deceit" to do any one or more of the

   7    following:(1)the suggestion, as a fact, of that which is not true, by one who does not believe it

        to be true;(2) the assertion, as a fact, of that which is not true, by one who has no reasonable
   9
        ground for believing it to be 'true;(3) the. suppression of a fact, by one who is bound to disclose
  io
         it, or who gives information ofother facts which are likely to mislead for want ofcommunication
  ii
        ofthat fact; or,(4)a promise, made without any intention of performing it.
  ~z
  13             ]79.       Under California Civil Code ~ 157 ,the party to a contract further engages in

  ~4    fraud by cammiriing "any other act fitted to deceive_"
  IS
                 1 80.      Ai the time of entering into the notes and deeds of trust referenced herein with
  16
        respect to each Plaintiff, the Defendants were bound and obligated to fully and accurately
  i~
        ~ disclose:
  IB

  19                  a. Who the true lender and mortgagee were.

  zo                  .b. That to induce a Plaintiff to enter into the mortgage, the Defendants caused the
  ~~.
                         appraised value of Plaintiffs home to be overstated.
  zx
                      c. That to disguise. the inflated value of Plaintiff's home,Defendants as orchestrating
  23
                          the over-valuation ofhomes throughout Plaintiff's community.
  2a
  is                  d. That. to induce Plaintiffto enter into a mortgage, the Defendants disregarded their

  26                     underwriting requirements, thereby causing Plaintiff to falsely believe that
  27

  28                                                        48

                                                        COMPLAINT


                                                                                              EXHIBIT 1   -61-
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                Plaintiff was financially capable of performing Plaintit~s obligations under the

   1            mortgage, when the Defendants knew that was untrue.
   3
             e. The Defendants not only had the right to securitized and sell Plaintiff's mortgage

                to third-party investors, but that it specifically planned and intended to do so as io
   5
                virtually all mortgages at highly-inflated and unsustainable values.
   6

             E Thal as to tl~e intznded sales:

                    i. The sales would include sales to nominees who were not authorized under

                        law at the time to own a mortgage, including, among others, Mortgage

                        Electronic Registration Systems Inc., a/k/a MERSCORP,lnc.("MFRS"),

                        which according to its ~~rebsite was created by .mortgage banking industry

                        participants to be only a front or nominee to "streamline" the mortgage re-

                       sale and securitization process;

                    ii. Plaintiffs true financial condition and the true value of PlaintifFs home.

                        and mongage would nol be disclosed to investors to whom the mortgage

                        would be sold;
  IB
                   iii. Defendants intended to sell the mortgage together with other mortgages
  19 !I

  zo                   as to which it also intended. not to disclose the true financial condition of

  zi '~                the borrowers or the true value oftheir homes or mortgages;

  22
                   iv. The consideration to be sought from investors would be greater than the
  23
                       actual value of the said notes and deeds of wst; and
  za
                    v. The consideration to be sought from investors would t>e greater t}~an the
  25

  26                   income stream that could be generated from the instruments event

  ~~                   assuming a 0%default rate thereon;

  28
                                                 49

                                             COy1PLAINT


                                                                                       EXHIBIT 1    -62-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 69 of 100 Page ID #:1364




                   g. That the mortgage would thereby be used as part of a scheme by which the
  z
                       Defendants would bilk investors by selling collateralized mortgage pools at an
  3
                       inflated value.
  a
                   h. That, at the time they did the foregoing, the Defendants knew the foregoing would
   s ;

  6 ~
                       lead to a liquidity crisis and the likely collapse of Defendants;

  7                i. That the Defendants also knew the foregoing would lead to grave damage to each

   R                   Plaintiff's property value and thereby result in Plaintiff's loss of the equity
  9
                       Plaintiff invested in his house, as well as damaging Plaintiff's credit rating,
  io
                       thereby causing Plaintif~'additional severe financial damage; and
  i~
                   j. That the Defendants knew at the time of making each loan, but did not disclose to
  i1

  13                   Plaintiffs, that entire communities would become "ghost-town-forecloswe-

  14                   communities" after a domino ei~'ect of Foreclosures hit them. .

  13
                181.      When property values started falling —just as Defendants knew would occur
  16
         DeFendanls could     no   longer    continue   the   pretense, concealment        and   affirmative
  i~
         misrepresentations. Plaintiffs through their losses, and then also the ultimate banker, the U.S.
  is
         taxpayer, have footed. the bill through TARP and other programs. Sill, Defendants continue to
  19

  Zo     ratify the scheme, hide and destroy documents, and travel outside the United States to countries

  21     with treaties that do not allow for open discover, including, among others, India and Tfaly, in
  22
         order to secrete witnesses and documents to make their scheme more difficult to prove.
  23
                182.      Further, in violation of their own tmderwriting guidelines, Defendants covertly
  24
         offered Plaintiffs and others loans at a loan-to-value ratio that was unsustainable and without
  is
  26
         income verification. The Defendants knew, but concealed from Plaintiffs that they knew,

  27

  28                                                     50

                                                    COMPLAINT'


                                                                                             EXHIBIT 1    -63-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 70 of 100 Page ID #:1365




   i     Plaintiffs would soon be unable to afford the loans once introductory discount interest rates

         ended, and variable interest and balloon payments kicked in.
   3
                183.       The Defendants knew that when interest payments increased and balloon
   4
         payments became due, if not before, Plaintiffs and others would begin defaulting on their
   s
         mortgages and would suffer grievous losses from mortgages for which they were not qualified.
  6

   ~ I Given the inflated appraised values of their residences, even without a decline in property values,

   s     few Plaintiffs would be able to refinance or sell their homes without suffering a significant loss.

  9
                l 84.      The Defendants knew that the scale of the lending -based on inflated property .
  io
         values, without income verification and in violation of numerous olher Defendants underwriting

         guidelines -would lead to widespread declines in property values, thereby putting Plaintiffs and
  i~
         others into exlrems through which they would lost the equity invested in their homes and have
  13

  14     no means of refinancing or selling, other than at a complete loss. That is precisely what

  is     happened to Plaintiffs herein.

  16 I
                185.       The Defendants did not just make misrepresentations and conceal material
  i~
         facts From investors. First, each of the :foregoing. misrepresentations were made in public
  is
         documents or forums given wide communication to the public, includinb Plaintiffs herein.
  19
         Second, the identical affirmative misrepresentations and concealment pertained to the Plaintiffs,
  10

  ii     and other borrowers. Defendants had to perpetuate their lies by affirmative misrepresentations

  2i     and by concealing the truth from Plaintiffs and other borrowers because to do otherwise would
  23
         mean:(a) immediate wash-back into their investor fraud since Plaintiffs and other borrowers are
  24
         pari of the investor public receiving all other investor communications, and (b) decapitation of
  2s
         the source of the supply of mortgages needed for the scheme. Finally, the concealment from
  2b
         borrowers was absolutely essential because the Defendants knew they would soon be delivering
  2~

  28                                                      51

                                                     COMPLAINT


                                                                                              EXHIBIT 1    -64-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 71 of 100 Page ID #:1366




   ~ I Plaintiffs' notes and deeds of trust to investors and their representatives at intentionally inflated
   2   values as collateral for Defendants' fraudulent securitized pools.
   3
               186.      By not disclosing the truth of their inflated appraisals, laa lending standards,
   a
       deficient loan portfolio, shaky secondary market collateralized securities, and overall scheme to
  s
       its borrowers, as set forth above, Defendants not only made them unwitting accomplices, but put
  6

  z    them into a no-win situation in which the price of taking a mortgage from Defendants would be -

  s    and has been —cascading defaults and foreclosures that have wiped out billions of dollars i.n

  9    equity value, including the equity invested in their homes by Plaintiffs. Cascading foreclosures
  io
       in entire cities and counties in California leads to unemployment and economic turmoil. Afl
  ii
       Plaintiffs have been. damaged by the foregoing. Despite billions of dollars of taxpayer-funded-
  ~z
       relief programs, property values continue to fall and unemployment and underemployment
  13

  ~a   remain tembly high.

  is           1 R7.     As defaults increased, the Defendants used it as an opportunity to increase their

  i~   fees and to punish Plaintiffs and other borrowers. Thai is why on June 7, 2010, the FTC
  i7
       announced that two Defendants mortgage servicing companies will pay $108 million to settle
  is
       FTC charges that they collected excessive fees from cash-strapped borrowers who were
  ~9
       struggling to keep their homes. The $108 million represents vile of the largest judgments
  Zo

  2i   imposed in an FTC case, and the largest ever in a moRgage servicing case.

  2i           1 88.     As FTC Ch~innan Jon Leibowitz explained in the FTCs press release

  i3   announcing the settlement: "Life is hard enough for homeowners who are having Vouble paying
  ~q
       their mortgage. To have a major loan servicer like Defendants piling on illegal and. excessive
  2s
       fees is indefensible."
  26
               189.      T'he FTC press release further explained:
  z7

  28                                                    52

                                                    COMPLAINT


                                                                                            EXHIBIT 1     -65-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 72 of 100 Page ID #:1367




                According to the complaint filed by the FTC,Defendants' loan-
   it
   2            servicing operation deceived homeowners who were behind on
   3
                their mortgage payments into paying inflated fees —fees that could
   a
                add up to hundreds or even thousands of dollars. Many of the
   5
                homeowners had taken out loans originated or funded by
  6

   7
                Defendants's lending arm, including subprime or

   s            "nontraditional" mortgages, such as payment option adjustable rate

  9             mortgages, interest-only mortgages, and loans made with little or
  io
                no income or asset. documentation, the complaint.states.

                Mortgage servicers are responsible for the day-today management
  l2
                of homeowners' mortgage loans, including collecting and crediting
  ~3
                monthly loan payments. Homeowners cannot choose their
  14

  15            mortgage servicer.

  i6

  17            When homeowners fell behind on their payments and were in
  ig
                default on their loans, Defendants ordered property inspections,
  19
                lawn mowing, and other services meant to protect the lender's
  20
                interest in the property, accardin~ to the FTC,complaint. Buy
  2~

  sz            rather than simply hire third-party vendors to perform the services,

  23            Defendants created subsidiaries to hire the vendors. The

  Za            subsidiaries marked up the price of the services charged by the
  25
                vendors —often by 100% or more —and Defendants then charged
  26
                the homeowners the mazked-up fees. The complaint alleges that
  >>
                the company's strategy was to increase profits from default-related
  28
                                                53

                                             COMPLAINT


                                                                                       EXHIBIT 1   -66-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 73 of 100 Page ID #:1368




                      service fees in bad economic times. As a result, even as the
  z                   mortgage market collapsed and more homeowners fell into
  3
                      delinquency, Defendants earned substantial profits by funneling
  4
                      default-related services through subsidiaries that it created solely to
  5
                      generate revenue.
  6

  7

                     1n addition, in servicing loans for borrowers trying to save their

  sl
  9                   homes in Chapter 13 bankruptcy proceedings, ~/re co»iplai►rt
  io
                      c/urges ticat Deje~tdants n:udefalse or re~isupported claims to
  ii
                     borrowers about amoants owed or 11re slaws of tl:eir loans.
  iz
                     Defendants also failed to tell bnrrovvers in bankruptcy when new
  13
                      fees and escrow charges were being added to their loan accounts.
  is

  is                  The FTC alleges that after the bankruptcy case closed and

  16                  borrowers no longer had bankruptcy coup protection, Defendants
  17                  unfairly tried to collect those amounts, including in some cases via
  is
                      foreclosure. [Emphasis supplred]
  19
              190.      Based upon the allegations of the FTC set forth in this Complaint, the Plaintiffs
  ~o
       believe and thereon allege the same allegations herein.
 21

 22           191.       The Defendants concealed and did not accurately or fully disclose to any

 z3    Plaintiff herein any of the foregoing facts. Further, Defendants did not disclose ar explain -their
 2a
       scheme to Plaintiffs ar any time. They did the foregoing with the intent to deceive Plaintiffs and
 is
       the investing public. Plaintiffs did not know the massive scheme Defendants had devised.
  26

  27

  28                                                    34

                                                    coMP~~~nr

                                                                                                EXHIBIT 1   -67-
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                  192.      To the convary, Defendants affirmatively misrepresented its underwriting
   1
          processes, the value of its mortgages and the fundamental nature of its business model in its
   3
          press releases, annual report and securities filings, all of which were widely distributed to the
   4
          public; including Plaintiffs. Defendants intended the public, including Plaintiffs, to rely upon its
   s
         misrepresentations and made those misrepresentations to create false confidence in Defendants
   6

         and to further its fraud on borrowers and investors.

   s             1 93.      Plaintiffs would never have done business with the Defendants if Defendants
   9
         ~ had disclosed their scheme. Had the Plaintiffs known the facts concealed from them by
  io
         Defendants, Plaintiffs would have never entered into bogus and predatory transactions with the
  II
         Defendants designed. only to line the pockets of Defendants and their executives and not to
  iz
         actually and justifiably create value and generate capital from the Plaintiffs' equity investments
  ~~ 3

  14     ~ in their primary residences.

  IS              194.      If the Plaintiffs had later learned the truth, each Plaintiff would have either (a)
  16
         rescinded the loan transaction under applicable law and/or (h) refinanced the loan transaction
  i~
         with a reputable. institution prior to the decline in mortgage values in late 2008. Instead, each
  18
         Plaintiff reasonably relied on the deceptions of the Defendants in originating their loans and
  19
         forbearing from exercising their rights to rescind or refinance their loans.
  20

  21             195.       After entering into the transactions with each Plaintiff herein as alleged herein,

  22     ~ the Defendants, with the assistance of the other Defendants herein, sold in securities transactions
  23
         ~ the notes and deeds of mast pertaining to Plaintiffs' properties. The sales:
  24
                     a. Included sales to nominees who were not authorized under law at the time to own
  25
                         a mortgage, including, among others, MFRS;
  26

  27

  28                                                       55

                                                       COMPLAl1dT


                                                                                               EXHIBIT 1    -68-
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   i                  b. Involved misrepresentations by Defendants to investors and concealment from
   z ~l                   investors of Plaintiffs true financial condition and the we value of Plainrif~'s
   3
                          home and mortgage;
   a
                      c. Involved misrepresentations by Defendants to investors and concealment from
   3

  6                       investors of the true financial condition of other borrowers and the true value of

                          their homes and mortgages also included in the pools;

   s                  d. Were for considerations greater than the actual value of the•said notes and deeds

                         oftrust;
  to
                      e. Were for consideration greaser than the income stream that could be generated
  ii
                         from the instruments even assuming a 0°!o default rate thereon; and
  i?
  13                  f. Were part of a scheme by which the Defendants bilked investors by selling

  IA                     cbilateralized mortgage pools at an inflated value.
  IS
                  196.       Defendants hid from Plaintiffs that Defendants was engaged in an effort to
  16
          increase market share and sustain revenue generation through unprecedented expansions of its
  ~~
          underwrriting guidelines, taleing on ever-increasing credit risk..
  is
  19              197,       At the time the Defendants induced Plaintiffs to enter solo mortgages, they

  20      knew their scheme would lead to a liquidity crisis and grave damage to each Plaintiff's property
  ?i
          value and thereby result in each Plaintiffs loss of the equity such Plaintiff invested in his house,
  22
          as well as damaging the Plaintiffs credit rating, thereby causing the Plaintiff additional severe
  23
          financial damage consisting of the foregoing damages and damages described elsewhere in this
  za
          Complaint. The Defendants concealed the foregoing from Plaintiffs, California consumers and
  25

  26      regulators, initially at Defendants' direction and thereafter at Defendants' direction.

  27

  28
                                                            56

                                                        caMPu►irrr

                                                                                                EXHIBIT 1   -69-
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   i          198.       Based upo~~ the Defendants' posirio~ as a leading financial institution and

       thereafter Defendants' position as a leading financial institution and the public statements made
   3
       by the Defendants and otherwise by Defendants, including in their securities filings, the
   4
       Plaintiffs reasonably relied upon the statements made by the foregoing and reasonably relied that
   5
       no material inforn~ation necessary to their decisions would be withheld or incompletely,
   b

       inaccurately or otherwise improperly disclosed. In so relying, the Plaintiffs were gravely

   a   damaged as described herein. The Defendants acted willfully with the intention to conceal and

  9    deceive in order to benefit there fro►n at the expense of the Plaintiffs.
  10
              199.       The other :Defendants followed Defendants' direction because they are either
  ti
       subsidiaries of Defendants, directly or indirectly owned, controlled a~~d dominated by
  iz
       Defendants, or because they are in an unequal economic and/or legal relationship with
  t3

  is   Defendants by which. they are beholden to Defendants and are thereby controlled and dominated

  is   by Defendants.

  Ib
              200.       As a proximate and foreseeable result of the Defendants sale of the notes and
  17
       deeds of trust regarding Plaintiffs' properties and others similarly situated for more than the
  ~s
       actual value of such instruments, securitization pools lacked the cash flow necessary to maintain
  19
       the securitization pools in accordance with their indentures. The unraveling of the Defendants'
  zo
  >>   fraudulent scheme has materially depressed the price of real estate throughout California,

  z2 including the real estate owned by Plaintiffs, resulting in the losses to PlaintifTs described herein.

  73
              20l .      After certain Plaintiffs filed the Complaint herein, Defendants, under direction
  za
       of Defendants, covertly embarked a supplemental scheme to browbeat Plaintiffs into foregoing
  ?5
       and waiving rights.      That scheme included, among other things, advising Plaintiffs that
  Zb

  27

  28
                                                         59

                                                     COMPLAINT


                                                                                            EXHIBIT 1     -70-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 77 of 100 Page ID #:1372




   i   Defendants would consider loan modifications; while at the same time covertly to obfuscate,

       badger, delay and divert the Plaineifi's from enforcing their rights.
   3
               202.       Defendant did nut provide the information sought by Plaintiffs, did not
   d
       facilitate the process of loan modifications and did not comply, in any material respect, with the
   s
       spirit and intent of loan modifications requirements embodied in Cal. Civil Code § 2923.5 e~.
  6

   7   seq., or the federal ~-lelping Families Sa~~e Their Homes Act of 2009.

   x           203.       At the same time, Defendants continue to issue notices of default inviolation
   9
       of CaJ. Civil Code § 2923.5 and despite assurances that the :failures will be remedied, corrective
  io
       action is dilatory, at best.
  ii
               204.       The foregoing is part of the ratification of the Defendants bad acts by
  ~z

  13   Defendants.. Since acquiring Defendants in 2008, Defendants has accepted the benefits of

  14   Defendants' bad acts and ratified and adopted. those acts with a concerted campaign to suppress

  is   Plaintiffs and others who seek to enforce their rights. That campaign includes, among other
  16
       components to be established through discovery:
  it
                   a. The intentional use of Indian service centers and others to frustrate Plaintiff's and
  i8
                       other    borrowers seeking information about their          mortgages and      loan
  19

  zo                   modifications.

  ~i               b. IntzntionaJ violation of Cal. Civil Code §
  n
               205.       Defendants and the other deTendants failed ever to inform this Court of the
  33
       Kentucky Class Action, thereby when Defendants had failed to responsively plead to that cause
  za
       of action herein when Defendants had failed to responsively plead to that cause of action for
  zs

  26
       more than a year. Despite numerous motions. hearings, mediation and settlement conferences,

  2~   Defendants never disclosed to any of Plaintiffs, their counsel or the Court the existence of the

  2B
                                                         SS

                                                    COMPLAINT


                                                                                            EXHIBIT 1    -71-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 78 of 100 Page ID #:1373




   i     Kentucky Class Action or the Kentucky Settlement, even though they were fully aware of the

   z     foregoing and fully aware that the Kentucky Settlement purported to compromise and settle the
   3
         privacy claims of Plaintiffs, even though Californians have unique and fundamental rights of
   4
         ~ privacy not enjoyed by other Americans.
   5
                206. .       By the foregoing acts, Defendants is intentionally making it difficult or
   s
         impossible for victims of~ Defendants' massive mortgage fraud and privacy violations to enforce

   s     their rigt~is. By taking these steps, Defendants accepts the benefits of Defendants' wrongful

   9     behavior and ratifies and adopts that behavior.
  io
                                        FIRST CAUSE OF ACTION
  ii               (By All Plaintift~ —Fraudulent Concealment —Against All Defendants)

  it            207.         Paragraphs 1 through 206 are hereby incorporated by reference as though fully
  13
         set forth herein.
  is
                208.         Defendants had exclusive knowledge not accessible to Plaintiffs of material
  is
         facts pertaining to its mortgage lending activities that it did not. disclose to Plainriffs at the time it
  16

  t~     was entering into contracts with Plaintiffs. As more fully alleged. herein, these facts included

  is     false appraisals, violation of Defendants' underwriting guidelines, the intent to sell Plaintiffs°

  19     mortgages above their actual values to bilk investors and knowledge that the scheme would
  ~o
         result in a liquidity crisis that would gravely damage Plaintiffs.
 zi
                209.         Further, in connection with entering into contracts with Plaintiffs, Defendants
  zz
         made partial (though materially misleading) statements and other disclosures as to their
  23

  za     prominence and underwriting standards in the public releases, on their web site, in their literature

  25     and at their branch offices. However. Defendants suppressed material facts relating thereto asset

  26     forth above. Defendants knew that the' mortgages would be "pooled" and "securitized sale".
  ~~
         Defendants also knew that within a foreseeable period, its investors would discover that
  za i                                                      S9

                                                        COMPLAINT


                                                                                                   EXHIBIT 1     -72-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 79 of 100 Page ID #:1374




   i     Defendants' mortgagees could not alTord their 1~7~ns and the result ~~~ould b~ foreclos~ires and

        ~ econ~~mic d~v~station. It ~a~a; the mv~~ic "1 h~~ .S7in,~ in real lilt. ~~~ith real lives acid ~~•ith rrople

        ~ ~~~ho.c homes ~~•erc often Mmes their unl~~ asset.
   a
                 ? 10.       Defendants ~~•as more cl~rznclent Than mama ~-►f' its competitors on sellim~ I~ans

        it originated into tMc se~.ondary mori~~a~.!~ market. an imp~~rtant lace it disclosed co investors.
   r,
        Delendan~s eapecte~ ghat the iletrrioratin~~ qu;~li~~° cal the loans ih;.+t Defendnnu eras ~~~ritin~_~,. ai~cl

   x     the poor performance o~~~r time ~~f~those loans. ~+~~ufJ ultimatcl}~ cunail the company~s ~~bilily m
   y     sell those loans in     lll~ S~COI1CI~iry   murt~~a~_~ market. Each of the toregoin~~ ~~~as a~~~are. Uut
  in
        nc;fcndants failed to disclose, th~~t Defcnclants' business modal ~~•,ts unsustainable.
  tt
                 ? 1 I.      Defendants misled h~~i~-ow~rs. potential burm~vers and investors b~~ lailin[; to

  is    disclose suhstantial. negati~=e infoi~nation re~ardinr Defendants` loan products, incLudin~~:

  ~a                 a. ~fh4 increasin~~l~• lax under~vritin~ guidelines used by the company in ori~inatine

  ~5                      ~~i111S:

  (+
                      b. The cnmpany's pursuit of a "m~~tchin~ strategy" in which it mfitched the terms ~F
  17
                          any loan being oflereJ in the m~~rket. even loans aftered by primarily subpriii~e
  is
                          uribin.~tc~rs:
  ~9

  ao                 a The high perccnta~e of loans it ~eiai~~ated that were outside its o~vn already

  ,~                      ~~=idened under~~~ritin~ ~~ui~Jelines due to loans made as exceptions to Guidelines:
  r
                      d. D~fei~dants' del:inition of "prime" loans included loans made t~ borro~~ters with
  ,~
                          F7CQ sores well beJ~w anv inJustry standard. definition of prime credit quality;
  za
                          and
  ~;

  26                 e. .Defendants' .ubprime loins hid significant ~~clditic~nal risk. factors. beyond the

  ~;                      subprime credit history of the Uurrow~r, associated with increased default rates,
  ~g
                                                                 hU

                                                            G(741PI.+\IN'1'



                                                                                                      EXHIBIT 1 -73-
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   i                   including reduced documentation, stated income, piggyback second liens. and
  z                    LTVs in excess of95%.

                212.     Defendants knew this negative information from numerous reports they
   4
       regularly reezived and from emails and presentations prepared by the company's chief credit risk
   5
       officer. Defendants nevertheless hid this negative information from the public, including
  6

       ~ Plaintiffs.

   s            213.     Plaintiffs did not know the concealed facts.

                214.     Defenda~its intended to deceive Plaintiffs. As described herein, that deception
  ~o
        was essential to their overall plan to bilk investors, trade on inside information and otherwise
  ~i
       ', pump the value of Defendants stock.
  iz
  13            215.     Defendants was one of the nation's leading providers of mortgages. It was

  is -highly regarded and by dint of its campaign of deception through securities filings, press
  IS
        releases, web site and branch offices, Defendants had acquired a reputation for .performance and
  16
       i quality underwriting.   As a result, Plaintiffs reasonably relied upon the deception of the
  I7
        Defendants.
  is
                216.     As a proximate result of die Foregoing concealment by Defendants, California
  19

  zo    progeny values have precipitously declined and continue to decline, gravely damaging.Plaintiffs
  ~i    by materially reducing the value of their primary residences, depriving them of access to equity
  z?    lines, second mortgages and other financings previously available based upon ownership of a
  23
       primary residence in California, in numerous instances leading to payments in excess of the
  Za
       value of their properties, thereby resulting in payments with no consideration and often
  is
       subjecting them. to reduced credit scores (increasing credit card and other borrowing. costs) and
 26

  ~~   reduced credit availability.

  za                                                   61
                                                   COMPLAIPfI'


                                                                                          EXHIBIT 1 -74-
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                    217.      Without limiting the damages as described elsewhere in this Complaint,

          Plaintiffs damages arising from this Cause of Action also include loss of equity in their louses,

          costs and expenses related to protecting themselves, rzduced credit scores, unavailabiJit~~ of

          credit, increased costs of credit, reduced availability of goods and services tied to c~dit ratings,

          increased costs of those services, as well as fees and costs, including, without limitation,

          anomeys' fees and costs.

   S                21b.      To this day, Defendants profess willingness to modify Plaintiffs' loans in
   9 ~
          accordance with lava, but nonetheless they persist to this day in their secret plan to use Lndian or
  io
          other offshore servicing companies to deprive Plaintiffs of their rights.
  II
                    219.      As a result of the foregoing, Plaintiffs' damages herein are exacerbated by a
  iz

  13      continuing decline in residential property values and further erosion of their credit records.

  is                220.      Defendants° concealments, both. as to their pervasive mortgage fraud and as to

  IS
          their .purported efforts to resolve loan modifications with Plaintiffs, are substantial factors in
  16
          causing the harm to Plaintiffs described in this Third Amended Complaint.
  I7
                    221.      Dependants acted outrageously and persistently with actual malice in
  IS I
          ,performing the acts alleged herein and continue to du su. Accordingly, Plaintiffs aze entitled to
  19

  z~      exemplary and punitive damages in a sum according to proof and to such other relief as is set

 ,i forth below in the section captioned Prayer for Relief which is by this reference incorporated

  2z      herein.
  23

  24
                                           SECOND CAUSE OF ACTIUN
  25                (By All Plaintiffs —Intentional Misrepresentation —Against.All Defendants)
  26
                    222.      Paragraphs 1 through 221. are hereby incorporated by reference as though fully
  t7 ',
          set forth herein.
  is                                                       6~

                                                       COMPLAINT'



                                                                                                EXHIBIT 1   -75-
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              223.       From 2002 through 2007. Defendants misled the public, including Plaintiffs.

       by €alsely assuring them that Defendants was primarily a prime quality mortgage lender which
  3
       had avoided the excesses of its competitors. As described herein with specific examples,
  a
       aftimiative misrepresentations and material omissions permeated Defendants website; customer
  s
       and investor materials, required securities filings and presentations.
  6

              22~.       Without limiting the foregoing, Defendants Forms 10-K falsely represented

   A   Ehat Defendants "manage[d] credit risk through credit policy. underwriting, quality control and
  9
       surveillance activities," and the Forn~s 10-.k falsely staled that Defendants ensured its continuing
  io
       access to the mortgage backed securities market by "consistently producir►g quality mortgages."
  ii
              225.       Defendants Forms 10-K deceptively described the types of loans upon which
  ~z

  13   the Company's business depended. While Defendants provided statistics about its originations

  is   which reported the percentage of loans in various categories, the information was misleading

  is   because its descriptions of "prime non-conforming" and "nonprime" loans in its periodic filings
  16
       Hrere insufficient to inform Plaintiffs what types of loans were included in those categories.
  i~
              22b.       Nothing in Defendants securities filings informed Plaintiffs that Defendants
  is
       "prime non-conforming" category included loan products with increasing amounts o~credit risk.
  19

  20   While guidance issued by the bat~l:ing regulators referenced a credit score ("FICO score') ai 660

  2i   or -below as being an indicator of a subprime loan, some within the banking industry drew the

  z2   distinction at a score of 620 or below. Defendants, however, did not. consider any FICO score to
 23
       be too low to be categorized within "prime". Nor did Defendants definition of "prime" inform
  24
       'Plaintiffs that its "prime non-conforming" category included so-called "Alt-A" loan products
  zs
       with increasing amounts of credit risk. such as (1) reduced or no documentation loans; (2) stated
  26

 z~    income .loans; and (3) loans with loan. to value or combined Loan to value ratios of 95% and

 2s                                                     63

                                                    COMPLAINT


                                                                                             EXHIBIT 1   -76-
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   i    hi~~hcr.     I'in~tlly. it did riot iliaclos~ that I'av-Option t~RM loans. inrludin~? r~ducecl

        iiorumentaiion Pay-Option ~-1R\'1 loans. ~~~~re include in the cate~.ur~~ of grime loans.

                   X27.     Thou~_h Delcndant~ pr~~r.l~iim~d ghat i~ man~i~~J credii risk throu~~h its loan
   a
        und~r~~•ritin~_. ~hc cc,mn~ny's inrrcasin~~ly ~~~icle unJer~~~ri►in~~ ~~uidzlines and exceptions process

        materiall~~ incre,~s~d Def~ndan~s credit rick Jw~in~, ghat limy..
  r.

                   ??S.     I~~lendants ~Icpendc~l on its sa1~5 ul Illoi'L;~a~e~ into the s~cand:~I'~' Illarket :is ~u~

  s     important s~urc~ ol'r~venue and liqui~lit~~. :1s a result. Delendzu~ts w~is .nat onl~~ clirectl~~ ~xpusr
   ~~
        to cr~~Jit risk throu~~h the m~~rtt~~~e-rclatc~ cisscts un its halanr~ slirtt, brit also indircctl~~ exp~s~d
  in
        to the risk that the incr~asin~_I~~ ~~oar c~ualiiy of its mans would ~~revent their contiiiu~d protilable
  ii
        sale into the secondary mart,~~~c marker anJ imrair Defendants liquiilit~°. R~ilher than disclosing.
  ~~
        this increasing risk. Ueienclants have false comfort. a~~ain toirtinc DeJend~lnrs loa» qualily.
  .
  i

  u     ilccorc~in~ly. Detendanls failure to cliscluse its ~viclenin~~ untler~~~ritin~ ~uidelin~s anti the

  ~5    preval~nc~ c►f exceptions to lhuse ~~uiclelines in ?U0~ anal 2000 cons►ituted nuitcri ~l omissions

  Ih
        tram Del'en~ants periodic repuns.
  i~
                   ?29.     "rn~se d~~~u~»~~u~ ~~j,~t:,~~,~d ~„►5~~~~,~-~s~„~~c~o„s as faiio~~-5:
  is
                      a. f=irst. Defendants' I~ut7115 Il)-h liar ?OUP. ?UOG. and ~OU7 stated that Defendants
  19

  ~u                      ..man~Le~d] credit rill; thruu~h credit pulic~~. un~ler~~~ritin~, quality° canlrc~l antl

  ~~                      surveillance acci~~ities ~ and tciu[~d the Company's "proprietary under~~~rilin~

                          s~~slems... that im~rav~ ~hc consistency of unden~rriiing. standards. assess
  ,;
                          collateral adeyuac~ and help to pre~lent fraud." These statements were false.
  ~a
                          because Defendants laie~v that a si~iificant pu~~tion of Detendants~ loans were
  ~;
                          beinu made as exceptiur~s to Del'entl~nis' already extremely broad underwrilin~
  ?4

                          guidelines.
  ~7

  2R
                                                               ca
                                                         l'U;411'LA IN'I



                                                                                                       EXHIBIT 1     -77-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 84 of 100 Page ID #:1379




   i              U. Second, Defendants stated in its 2005 Form 10-K; "We ensure our ongoing access

                      to the secondary mortgage market by consistently producing quality mongages...
   3
                      We make significant investments in personnel and technology to ensure the
  a
                      quality of our mortgage loan production." A virtually identical representation
   s
                      appears in Defendants' 2006 Form 10-K. These statements were false, because, as
  6

                      set forth in detail above, Defendants vas aware that Defendants was originating

  a                   increasing percentages of poor qualit~~ loans that did not comply with Defendants'

  9                   w~derwriting guidelines.
  10
                   c. Third, the descriptions of "prime non-conforming" and `'subprime" loans in
  ►►
                      Dzfendants' Forms 10-K were misleading because they failed to disclose what
  t?
                      types of loans were included in those categories. The definition of "prime" loans
 i3

  i~                  in Defendants' 2005, 2006. and 200? Forms 10-K was: '`Prime Mortgage Loans

  ~s                  include con~fentional mortgage loans, loans insured by the Federal Housing

  16                  Administration ("FICA") and loans guaranteed by the Veterans Adminisvation
 l7
                      ("VA"). A significant portion of the conventional loans we produce qualify for
  IS
                      inclusion in guaranteed mortgage securities backed by Fannie Mae or Freddie
  19
                      Mac ("conforming loans"). Some of the conventional loans we produce either
 20

  2i                  have an original loan amount in e~ccess of the Fannie Mae and Freddie Mac loan

 zz                   limit for single-family loans ($417,000 for 2006) or otherwise do not meet Fannie

 23                   Mae or Freddie Mac guidelines. Loans that do not meet Fannie Mae or Freddie
 i4
                      Mac guidelines are referred to as "nonconforming loans".
 25
               230.     Nothing in that definition informed Plaintiff's that Defendants included in its
 36
 ~' I   prime category loans with FIC4 scores below 620. Nor did the definition inform Plaintiffs that

 28 ~
                                                      65

                                                  COMPLAINT


                                                                                         EXHIBIT 1    -78-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 85 of 100 Page ID #:1380




   i     the "prime non-conforming" category included loan products with increasing amounts of credit

  2      risk, such as (I) reduced and/or no documentation loans; (2) stated income loins; or (3) loans
  3
         with loan to value or combined loan to value ratios of 95% and higher. Finally, it did not
  a
         disclose that Defendants' riskiest loan product, the Pay-Option ARM, vas classified as a "prime
  s
         loan".
  6

  z               231.     The foregoing misrepresentations were made with the intention that Plaintiffs

         rely thereon. It wa.G imponant to Defendants that Plaintiffs rely on its misrepresentations so that

  9      Plaintiffs would come to a false understanding as to the nature of Defendants' busi~iess. The
  iu
         foregoing misrepresentations were specifically intended to convince Plaintiffs to take mortgages
  it
         form Defendants.
  iz
                  232.      The campaign of misinformation succeeded.            Plaintiffs relied upon the

  13 I
  is     misrepresentations and entered into mortgages with Defendants.

  IS              233.      By reason of Defendants' prominence and campaign of deception as to its
  16
         business plans and the relationship of Irusl developed between each Qi' the Defendants and
  ~~
         Plaintiffs, Plaintiffs were justified in relying upon Defendants' representations.
  ig
                  234.      As a result of relying upon the Foregoinb misrepresentations, each Plaintiff
  14

 2Q      entered .into a mortgage contract with Defendants.

 zi               235.      In fact, the appraisals were inflated.     Defendants did not utilize quality

 zz      underwriting processes. Defendants' financial condition was not sound, but was a house ofcards
 23
         ready to collapse, as Defendants well knew, but Plaintiffs did not. Further, .Plaintiffs' mortgages
  2d
         were not refinanced with fixed rate mortgages and neither Agate nor Defendants ever intended
 15
         that they would be.
 26

 27

 28
                                                          66

                                                      ~onnPu►iw~r


                                                                                              EXHIBIT 1   -79-
Case 8:11-cv-00622-JLS-VBK Document 1 Filed 04/20/11 Page 86 of 100 Page ID #:1381




                  236.    As a result of Defendants' scheme described herein; Plaintiffs could not afford

        ' the Defendants mortgage when its variable rates Feawres and/or balloon payments kicked in.
  3
        Further, as a result of the Defendants scheme, Plaintiffs could not retinance or sell their
  a
        residence without suffering a loss of their equit}~ investments.
  s ~

   b
                  237.    As a result of the foregoing, Plaintiffs have lost all or a substantial portion of

        the equity invested in their houses and suffered reduced credit ratings and increased burrowing

  s     costs, among other damages described herein.
  9
                  238.    Plaintiffs' reliance on the misrepresentations of the Defendants, appraisers and
  ~o
        Agate, all directed and ratified by the Defendants, was substantial factor in causing Plaintiffs'
  U
        I hanm.
  12

  ~~              239.    Defendants and the Defendants represented to multiple Plaintiffs that they

  ~a    would be assisted by Defendants in a .loan modiFcation. As described herein, that representation.

  IS    was false. Defendants knew that representation was false when they made it.
  16
                  240.    Because of new laws pertaining to loan modifications and Defendants'
  i~
        insistence that they had a genuine interest in complying therewith and in keeping borrowers in
  18

  19
        theirhon~es, Plaintit~s reasonably relied on the representations.

  zo              241.    By delaying Plaintiffs from pursuing their rights and by increasing Plaintiffs'

  21    costs and the continuing erosion of each Plaintiffs credit rating, each Plaintiffs reliance harmed
  22
        that Plaintiff.
  23
                  242.    Without. limiting the damages as described elsewhere in this Complaint,
  za
        Plaintiffs damages arising from the matters complained of in this Cause of Action also include
  zs

  26    loss of equity in their houses, costs and expenses related to protecting themse)ves, reduced credit

 z7     scores, unavailability of credit, increased costs of credit, reduced availability of goods and

  is                                                     67

                                                     COMPLAIN"f


                                                                                             EXHIBIT 1    -80-
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   i   services tied to credit ratings, increased costs of those services, as well as fees and costs,

       including, without limitation, attorneys' fees and costs_
  3
              243.         Plaintiffs reliance on the representations made by Defendants and Defendants
  a
       vas a substantial factor in causing Plaintiff's harm.
  5

              24d.         Plaintiffs are entitled to such relief as is set forth in this Cause of Action and
  6

       such further relief as is set forth below in the. section captioned Prayer for Relief which is by this

  8    reference incorporated herein.

                                     THIRD CAUSE OF ACT10N
  ~o        (By All Plaintiffs —Negligent Misrepresentation —Against All Bank Defendants)

  ii          245.         Paragraphs 1 through 245 are hereby incorporated by reference as though fully

  iz   set forth herein.
  13
              246.         Although the Defendants may have reasonably believed some or all of the
  i~
       representations they made, described in this Complaint were true, none of them had reasonable
  IS

  16
       grounds for believing such representations to he true at the time. (a) the representations were

  ~~   instructed to be made, as to those Defendants instructing others to make representations, or(h) at

  18   the time the representations were made, as to those Defendants making representations and those
  19
       Defendants instructing others to make the representations, or (c) at the time the representations
 20
       were otherwise ratified by the Defendants.
 ?i
               247.        Such reprzsentations, fully set forth in the First Cause of Action and previous
  ~2

  23   sections of this Complaint, were not true.

  24           248.        Defendants intended that Plaintiffs rely upon those misrepresentations.

 25
               249.        As described herein, Plaintiffs reasonably relied on those representations.
 26

 27

 28
                                                         68

                                                     COMPLAINT


                                                                                              EXHIBIT 1    -8'1-
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                 250.        By reason of Det'endants' prominence and campaign of deception as to its

         business plans and the relationship of trust devzloped between each of the Defendants and

         Plaintiffs, Plaintiffs were justified in relying upon Defendant' representation.

                 2~ 1.       P.s a result of relying upon the foregoing misrepresentations, each Plaintiff
   ~ I

   6
         entered into a mortgage contract with a~Defendants.

                252.         As a result of Defendants' scheme described herein, Plaintiffs could not afford

   s     his or her Defendants mortgage when its variable rate features and/or balloon payments kicked
   9
         in. Further, as a result of the Defendants scheme, Plaintiffs could Trot refinanc-e or sell his or her
  i~
         residence without suffering a loss of Plaintiffs equity.

                253.         Without limiting the damages as described elsewhere in this Complaint,
  12

  13     Plaintiffs damages as a result of the foregoing also include loss of equity in their houses, costs

  14     and expenses related to protesting themselves, reduced credit scores, unavailability of credit.
  IS     increased costs of credit, reduced availability of goods and services tied to credit ratings,
  ~~
         increased costs of those services, as well as fees and costs, including, without limitation,
  17
         attorneys' fees and costs.
  IR
                 254.        Plaintiffs are entitled to such relief as is set forth in this Cause of Action and
  19

  2u     such further relief as is set forth below in the section captioned Prayer for Relief which is by this

  zi     reference incorporated herein.
  22

  23
                                      FOURTH CAUSE OF ACTION
  ~~         (By all Plaintiffs —Invasion of Constitutional'Right to Privacy —Against All Bank
                                                 Defendants)
  is

  26
                255.         Paragraphs I through 254 are hereby incorporated by reference as though fully

  27     set forth herein.

  2R
                                                           69

                                                       i.OMPI,AINT




                                                                                                EXHIBIT 1    -82-
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                256.       The guarantee of privacy granted to each Californian is a special and unique

         right embedded in the very first clause of the California Constitution. Article 1, j 1 of the
   3 '
         Cali~'ornia Constitution provides:
   a
                        All people are by nature free and independent and have. inalienable "rights. Among
   5
                        these are enjoying and defending life and liberty, acquiring, possessing, and
   6

   z                    protecting property, and pursuing and obtaining safety, happiness, and prn~acy.

   r                   (Emphasis supplied)

   y
                257.       The unauthorized disclosure of "Privgle lnformalion"(confidential, nonpublic
   ~o
         personal information, including such information as social security numbers, dates of birth,
   it
         property values, banl: and credit card account numbers. and other personal information) is a
   12
         fundamental violation of Californians' inalienable right to privacy.          Each Plaintiff has a
   i~

   is    constitutionally protected privacy interest and right in his or her Private Information.

   is           258.       Each Plaintiff provided Private lipformation to the Defendants as a requirement
   i~
         for obtaining a mortgage trim Defendants. Each Plaintiff lead a reasonable expectation that the
   ~~
         Defendants would preserve the privacy of that Plaintiffs Private Information. ?he right of
   ~s
         privacy and the Plaintiffs' interest in their Private lnformafion is a constitutionally protected
   19
         inalienable property right.
  zo

  z~            2~9.       Defendants directly and through their agents violated Plaintiffs' inalienable

  Zt     privacy rights by disclosing the Private lnForrnation without their knowledge, authorization or
  23
         consent. This unauthorized disclosure of private inforniation is intrusive into the most private
  za
         reaches of the Plaintit~'s' lives, and does not include information that is of a legitimate public
  25
         concern.
  26

   27

  28
                                                          7U

                                                      CUMPLAIMf


                                                                                              EXHIBIT 1   -83-
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   i           260.       Possession of pers~~nal confidential inforn~ation allo~ti~s criminals 10 "breed"
   2
       identities, that is,'to obtain other forms of identification that may further enhance their ability to
   3
       ~ misuse another's identity.

               261.       Social security numbers are among the most sought after and valuable items of
   S


   b
       personal information to an identify thief.

               2b2.       The average victim of unauthorized use of ~~vrongfully disclosed personal

  6    confidential information spends approximately 600 hours and $I,400 repairing his or her credit
   9
       once violated.
  io
               263.       Victims of identity theft also often suffer further financial loss from the denial
  i~
       of credit or utility services. increased difficulty in secwing employment and housing, and higher
  ~2

  t3   insurance and credit rates. In some cases, an identity theft victim may even have a criminal

  is   record develop in his or her name. Further costs include lost wages or vacation time, diminished

  is    work performance, increased medical problems, and impact on family and friends.
  16
               264.       It is often the case that a victim will not discover that his or her Private
  t1
       Information has been stolen and misused until long after an identity theft has taken place, and
  IS

       then only when they are denied credit or diseaver that their bank account has been zmptied.
  19

  10           ?65:       The California Constitution {Art. 1, § 1)is self-executing and confers a right of

  zi   action beyond the scope of the mere common law tort. See, e.g., dur► v. Qrange (2004) I20
  az
       Cal.App.4'" 273, 284.
  z3
               266.       Fundamental to privacy is the ability to control circulation of personal
  24
       information. The proliferation of business records over which individuals have no control limits
  ?s

  26   their ability to control their personal lives. Personal privacy is threatened by the information-

  z~ i gathering capabilities and activities of private business —and never more than when a financial

  2a                                                    ~i
                                                    COMPLAINT



                                                                                              EXHIBIT 1    -84-
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   i      instiiution that regaires personal inforniation to pern~it a consumer to buy a home and obtains it

          with the assertion and promise it will he safeguarded fails to safeguard that information.
   3
                 267.       On inforn~ati~n and be.liet; as Defendants' condition deteriorated, in
   a
          .furtherance of Defzndants' unla~vfi~l deception of Plaintiffs and Defendants' investors,
   5
          Defendants began running credit checks on its borrowers to determine who was e~+periencing
   6

          financial difficulties. These credit checks were outsourced, meaning that private data and other

   s      information was sent off-site. The goal was to develop information that could he used to further
   9
          Defendant's fraud involving tl~e sale of collateralized securities and also to improperly provide
  io
          information to those who already had .purchased such collateralized securities in order to give
  ii
          Defendants a tactical advantage ahead of other banks.
  i?
                 268.       But, the real estate market collapsed so rapidly that Defendants was caught in
  13

  to      the middle of its scheme. The FBI then identified Defendants employees for their role in the

  is      unlawful disclosure of private and confidential information.
  Ib
                 269.       On info►mation and belief third parties unlawfully used the Private
  ~~
          Information acquired from Defendants thereby further damaging each Plaintiff.
  tg
                 -270.      By reason of the conduct alleged herein, Defendants violated each Plaintiff's
  19

  zo      constitutional right o.f privacy and each Plaintiff has suffered special damages in an amount

  zt      according to proof at trial.

  r_             271.       Further, as a proximate and foreseeable result of Defendants' intentional
  23
          disclosure of Plaintiff's Private InFormation, each Plaintiff has suffered general damages —
  ?q
          including pain and suffering and emotional distress — in an amount according to proof at trial.
  25

                 272.       Defendants conduct is willful, outrageous and pervasive, involving hundreds of
  26

  27 'I   thousands of California citizens. Not only did .Defendants abuse Private Information, willfully

  28
                                                          72

                                                      COMPLAINT


                                                                                              EXHIBIT 1     -85-
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        ~ Fail to maintain the security of the Private ]nformation, and then disclose it to third parties

   ? I without permission, but they gook ne material steps to retrieve the Private Information, concealed
   3
         the extent ot~ the violations, and then embarked on a scheme to defraud this Court and the United
   a
        States District Court for the Western District or Kentucky.
   5
                273.      Without limiting the damages as described elsewhere in this Complaint,
   6

   7    Plaintiffs damages as a result of the foregoing alsu include direct losses associated with identify

         theft and the losses associated with reduced credit scores, including, among others, unavailability
   9    of credit, increased costs of credit, reduced availability of goods and services tied to credit
  10
        ratings, increased costs of those ser~fices, as well as fees and costs, including, without limitation,
  i~
        attorneys' fees and costs.
  iz
                274.      Defendants acted with actual malice by disclosing Plaintiffs' Private
  13

  14     Information, failing to cure the same, concealing the magnitude of the problem, and then lying to

   ~s   this Court and the Kentucky Federal Court, and retailing against California Plaintiffs herzin by
   16
        covertly attempting to maneuver this Court into depriving them of their rights. Plaintiffs are
  17
        entitled to exemplary and punitive damages in a sum according to proof and such further relief as
  is
         is set forth below in the section captioned Prayer for Relief which is by this reference
  19
         incorporated herein.
  20

  21

  z2                                   FIFTH CAUSE OF ACTION
        (By All Plaintiffs —Violation of California Financial Information Privacy Act —Against All
  23                                          Bank Defendants)
  24
                275.      Paragraphs 1 through 274 are incorporated by reference as though fully set
  25
        forth herein.
  26

  27

  28
                                                         73

                                                     CO~IPI.AINT



                                                                                              EXHIBIT 1    -86-
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   i          276.       The Defendants' disclosure of nonpublic personal information and personally
   t
       identifiable financial information constituted violations of t}ie California Financial Information
   3
       Privacy Act. California Financial Code §y 4050-4060.
   a
              277.       Wiihout limiting the damages as described elsewhere in this Complaint,
   5

   6   Plaintiffs damages as a result of the foregoing also include direct losses associated with identify

       theft and the losses associated with reduced credit scores, including, among others, unavailability

   s   of credit, increased casts of credit, reduced availability of goods and services tied to credit
   9
       ratings, increased costs of those ser~•ices, as well as fees and costs, including, ~~ithout limitation,
  io
       attorneys' fees and costs.

              278.       The Plaintiffs may recover damages under California Financial Code § 4057(a)
  12

  13   according to proof and such further relief as is set forth below in the section captioned Prayer for

  ~a   Relief which is by this reference incorporated herein.

  is

  16
                                     SIXTH CAUSE OF ACT10N
  17   (lnjunctive Relief for Violation of Cal. Civil Code § 2923.5 — By All Plaintiffs Against All
                                            Bank Defendants)
  i8
              279.       Paragraphs 1 through 278 are incorporated by reference as though filly set
  19

  zo   forth herein.

  zi          280.       Pursuant to California Civil Code, § 292.5, the- Defendants —and each of them

  zz   - are prohibited by statue from recording a Notice of Default. against the primary residential
  23
       property of any California without first. making contact with that person as required under ~
  2a
       2923.5 and then. interacting with that person in the manner set forth in detail under § 2923.5. An
  1s
       exception ►o this rule of law exists in the event the Defendants are unable with due diligence to
  26

  z~ I contact the property owner.

  2s                                                    74

                                                    COMPLAINT


                                                                                             EXHIBIT 1     -87-
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    i              ''S I .     V4`ith respect to all Pl~intiFls in this cause of action. th. really° that is the su~jrr~

         here~l~ ~~~a5 and is their priman residential cl~~~ellint ~~~ithin the me~inin~~ c~l~ ~ '923.x.

              'S?.             The D~fcndant . anJ each iff them. c~use~l l~~c~~ii~ ~~f Drf iul~ i~~ h~ recorded
   a
         a~~ainst the primeir~~ residential ~~roperties of the Plaintilfs named in this iau~e of action abs~nl

                                                                      the nonco►npliancr. Delen~lants.
   r, compliance ~~~ith.Calilornia Civil Code. ~ ?9?3.a. Inclucl~d in

         and each of them. caused decl:~rations to be rcrurdcd in the ~~ubli~ record, th~~t ~~~erc —each of

   ;~    them —False. ~fhis act also ~~iolates ti _'923. and u~hrr California laws precludin;~ ~h~ lilin~ of
   ~?
         lalse statentc'nls.
  iu
                   253.        Pl~~inlill's are rniillecl to such relict' a5 is Sit Iorth in this C~~use ol~ Action and
  ~i
         such further rcliel'as is s~~ forth belo~~+ in the. section cautioned Pr~i~~er for Relief ~~~hirh is by this
  ~?

  i; reference inco~-~arated herein.

  i ~i

  is                                      SEVENTH CAUSC OF ACTIOv
   r,
          (13y rill Plaintiffs — Violatic►n of C~1. Civil Cade ~ 1798.$2 — ,~►guinst All Bank Defendants)

  17
                   ?8=~.       Para~~raphs I through ?S3ar~~ incorporated by ref~rcnce as rh~u~h fully set f~~rth
  i;s
         h~r~in.
  ~u

  ?n               ?S~.        ~Thc Del~nJants I~ail~cl io timely eliscl~~~e to I'I~intiFis the disclosure of then•

 ,~      personal information as required under CaliForni,~ Ci~~il Ciide ti 170$.82.
 ,~
                   2$(i.       ~1s a pro~im~te result cot the lore~nin`~ untimely disclosure b}~ Defen~ant~, lh~
 ,;
         Plaintilts were damaged as described in this Complaint.                 V1~ithout limitin~~ the dam~i~es a~
  ~~
         described elsc~vhere in this Complaint_ Plaintiffs damages also incluJe direct losses associated
  ~;
         ~~~ith idcntily ~helt and the losses asso~iared with reduced credit scores. includin~~. among others.
  ?~a
  ,~     un~~~lilahilit~~ oPcredit. inercasetl cons of crcdi►. reduced a~~ailability of~oods and seraices tied

  ~$
                                                                ~~
                                                           c~0~ai~LtuuT


                                                                                                        EXHIBIT 1     -88-
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    i   to credit ratings, increased costs of those services, as 4ve11 as fees and costs, including, without

   z    limitation, attorneys' fees and costs. Plaintiffs may recover damages under California Civil
   3
        Code § 179$.84 according to proof and such funher relief as is set fprth below in the section
   a
        captioned Praver for Relief which is by this reference incorporated herein.
   s
                                       EIGHTH CAUSE OF ACTION
   6              (By All Plaintiffs —Unfair Competition —Against Alt Bank Defendanis)
   7

   s           28i.       Paragraphs 1 through 286 are incorporated by reference as though fully set

   y forth herein.
   io
               288.       Defendants' actions in implementing and perpetrating their fraudulent scheme
   ii
        of inducing .Plaintiffs to accept mortgages for which they were not qualified based on inflated
   i?
        property valuations and undisclosed disregard of their own underwriting standards and the sale
  13

   ~a   of overpriced collateralized mortgage pools. all ehe while knowing that the plan would crash and

   13   bum, taking the Plaintiffs down and costing them the equity in their homes and other damages,

   16   violates nwnerous federal a~~d state statutes and common law protections enacted for consumer
   17
        protection, privac~~, trade, disclosure, and 'fair trade and commerce..
   is
               289.       The Defendants perpetrated their fraudulent scheme of selling off overpriced
   19
        loans by making willful and inaccurate credit disclosures regarding Defendants' borrowers,
  10

  2~    including Plaintiffs, to third parties. This false credit disclosure was critical to the success of

  Zz    Defendants' continued sales of the massive pools of mortgage loans necessary to perpetuate the
  23
        scheme. The Defendants were aware that if the true credit profiles of the borrowers and the
  2d
        values of their real estate were accurately disclosed, the massive fraudulent scheme would end.
  ?s
        As a result, the Defendants repeated, reinforced and embellished their false disclosures.
  26

  27

  7g
                                                          76

                                                      COMPL.~INT


                                                                                             EXHIBIT 1   -89-
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   i              290.         The Defendants knew the borrowers' credit was inadequate to support

           continued loan payments, absent unsustainable inflation of property values. These pervasive

           false credit disclosures to third parries (including purchasers of bundled mortgage pools created
   4
           by the Defendants] constituted false credit reports in violation of the Fair Credit Reporting Act,
   s
           15 U.S.C. §§ 1681 et sey. and these pervasive false disclosures permitted the Defendants to
   6

           continue their scheme and victimize die Plaintiffs.

                  291.         These pervasive false disclosures also caused the bubble to burst. Once it

           became known that some o1' the inFonnation provided by Defendants was false, the market for
  Io
           the sale bundled loans dried up. The Defendants began to issue foreclosure notices, property
  ii
           values began dropping. and then, under the weight ofrleflu~ion in a market that requires i»Jlalion,
  iz
           the equity investments made by Plaintiffs and others in their homes was lost... and then
  13

  14       Plaintiffs were lost in the greatest economic recession since the 1930s.

  is              292,         As alleged by the SEC, this fraud also violated Federal law, including, without
  16
           limitation, the antifraud provisions and insider provisions of the Securities Act of 1933
  17
          ("Securities Act") and the Securities Exchange Act of l 935("~rcl~ange Acl"), including= without
  is
           limitation:
  19

  io                     a. Section 17(a) of the Securities Act, I S U.S.C. § 77q(a}, by engaging conduct

  zi                        which acted as a fraud on the purchaser of securities based on collateralized

  ~Z                        mortgage pools;
  ?3
                         b. Section ]0(b} of the Securities Act and Rule l Ob-5 thereunder, 15 U.S.C. § 78j(b)
  2d
                            and 17 C.F.R. 240.108-5, by making untrue statements of material fact and
  25
                            omitting to state material facts necessary in order to male the statements made, in
  26 ~'

  27                        the tight of the circumstances under which they were made, not misleading and/or

  28
                                                            77

                                                        COMPLAINT


                                                                                                EXHIBIT 1   -90-
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   i                    otherwise engaging in acts, practices, or courses of business which operated as a

                        fraud or deceit upon purchasers of securities based on collateralized mortgage

                        pools; and
   4
                    c. Section 1 ,(a) of the Securities Exchange Act and Rules 12b-20, 13a-1 and 13a-3
   s
                        thereunder, l~ U.S.C. § 78t(e) by filing with the SEC false information for the
   6

                        fscal years 2005 through 2007.

   s            293.       The foregoing violations were in furtherance of the fraud perpetrated on
   9
         Plaintiffs. In fact. Defendants could not have told the truth in their public filings without that
  io
         truth becoming known to Plaintiffs. Conversely, the false filings gave additional credence and

         support to omissions, concealment, promises and inducements.
  12

  13            294.       While processing the home loans of each Plaintiff herein, the Defendants and

  14     other Defendants came into possession, custody and control of their Private Information.

  IS                       The guarantee of privacy granted to each California is a special personal and
                295.
  iti
         properly right. Other states may accord privacy rights by way of statute, or otherwise, but the
   ~~
         privacy right in California is a unique, fundamental, Constitutional, and inalienahle right that is
  is
         also a protectable property interest. The privacy right granted by the California Constitution
  19

  zo     necessarily includes protection from the release of the Private Information.

  zi            296.       The Defendants acknowledge and admit that their agents and/or employees
  zz     disclosed the Private Inforn~ation of Plaintiffs to outside persons.
  23
                297.       This Private Inforniation of Plaintiffs was sold or otherwise disclosed to third
  24
         parties without Plaintiffs' consent, Further violating Article 1, § 1 of the California Constitution
  zs

  26 I
         and the California Financial Information Privacy Act.

  27

  28                                                      78

                                                      coMP~.niN'r

                                                                                             EXHIBIT 1    -91-
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                298.     The Private Information was disclosed and then used unlawfully and

       fraudulently to apply for and receive multiple credit cards,charge accounts, and other credit From

       businesses in the mistaken belief that they were dealing with a Plaintiff, and not wish an identify

       thief.
   s

   6
                299.     These undeniable disclosures by the Defendants of nonpublic personal

   1   information of the Plaintiff's and others also violated the Gramm-Leach-Bliley Act, 15 U.S.C. §~

   8   6801 e~ seg.
   9
                300.     By violating Plaintiffs' right to privacy and by misappropriating nonpublic
  io
       personal information for their own use, the Defendants thus wrongfully took each Plaintiffls
  ii
       property interest in his or her Private Information and privacy, injuring each Plaintiff, and, as a
  12

  t3   result, Plaintiffs are eligible for restitution because the Defendants wrongfully acquired the

  is ~, property in which Plaintiffs had an ownership or vested interest.

  is            301.     The forgoing fraudulent concealment, material misstatements, and the
  16
       intentional violations of state and federal statues cited herein constitute unlawful, unfair and
  n
       fraudulent business acts or practiczs and so constitute unfair business practices within the
  is
       meaning of the California Unfair Practices Act. Cal. Bus. &Professions Code ~~ 17240, 17500.
  19

  ?o   Sections 17200 e~ seg. of the California Liusiness &Professions Code provide, in the disjunctive,

  ~i   for liability in the event of any such "unlawful, unfair or fraudulent business act or practice".

  ~2                     The violations described herein are unlawful, in that they violate inter alto
                302.
  23
       Article Y, § l of the California Constitution, the California Financial Information Privacy Act,
  24
       Cal. Civil Gode §§ 1780.$0-84, the Fair Credit Reporting Act, the Gramm-Leach-Bliley Act and
  ~s
       the Federal laws described herein. These violations are the basis for liability under § 17200 of
  iv
  ?~   the Business and Professions Code, as is the unlawful and fraudulent activity described herein.

  Zs                                                    79

                                                    COMPI~INI'


                                                                                             EXHIBIT 1     -92-
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   i          303.       The actions described herein are unfair and patently Fraudulent in that they

       were conducted for the sole purpose of perpetuating an unlawful and unsustainable investment
  3
       scheme.
   a
              304.       As a result of the actions, concealment and deceit described herein; each of the
   s
  6
       Plaintiffs has suffered material financial injury in fact, including as described elsewhere in this

       Complaint; loss of equity in their h~~uses, costs and expenses related to protecting themselves,

   s   reduced credit scores, unavailability of credit, increased costs of credit, reduced availability of
  9
       goods and services tied to credit ratings, increased coses of those services, as ~vel! as fees and
  ~o
       costs, including, without limitation, attorneys'.Fees and costs.
  ii
              305.       As a further result of the actions, concealment and deceit described herein,
  i?

  13   each of the Plaintiffs has lost money or property as a result of such unfair competition, including

  14   the loss of Plaintiffs' property interest in their Private Information as a result of the

  is   unconscionable invasion of privacy and misappropriation of nonpublic personal information.
  16
              306.       California Civil Code ~ 2923.5 requires that each mortgagee, trustee,
  i~
       beneficiary, or authorized agent may not file a notice of default pursuant to California Civil Code
  IS
         2924 until 30 days after initial contact is made as required therein, or 30 days after satisfying
  19

  ~o   the due diligence requirements to contact the mortgage described therein. Defendants violated

  ii   the foregoing law by causing a notice of default. to be filed against Plaintiffs without the

  2?   mandatory notice. Defendants did not diligently endeavor to contact the Plaintiffs as required by
  23
        2923.5(g)and Defendants thereby also violated California Civil Code §§ 2923.5 and 2924.
  2a
              307.       As a result of the foregoing unlawful conduct, Plaintiffs suffered further injury
  u
       in fact by the filing of notices of default and as such the Plaintiffs suffered monetary and
  26

  27   property loss. Such injuries and loss included diminished credit scores with a concomitant

  28
                                                        80

                                                    tOMPLAIN'I'



                                                                                           EXHIBIT 1    -93-
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     increase in borrowing costs and diminished access to credit, tees and costs; including, without

     limitation, attorneys' fees and costs with respect to w7ongFul notices of default and loss of some
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     or all of the benefits appurtenant to the ownership and possession of real property.
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            308.        The :foregoing, unlawful activities were pervasive and violate Business and
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     Professions Code y 17200 e~ seq.
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            309.       As a result of Defendants' unfair competition, Plaintiffs are entitled to

 s   restitution for all sums received by Defendants with respect to Defendants' unlawful and/or
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     unfair and/or fraudulent conduct, including, without limitation, interest payments made by
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     Plaintiffs, fees paid to Defendants, including, without limitation, the excessive fees paid at
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     Defendants' direction as alleged by the FTC, and premiums received upon selling the mortgages
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     at an inflated value.
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is          31p.       Plaintiffs are also entitled to.the issuance of a temporary restraining order, a

15   preliminary injunction, and a permanent injunction restraining and enjoining Defendants from
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     any further concealment with respect. to the sale of notes and mortgages, any further violation of
n
     § 2923.5, any .further violation of Article 1, § 1 of the California Constitution, the California
is
     Financial Information Privacy Act, Cal. Civil Code § 1798.82, the Fair Credit Reporting Act. and
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     the Gramm-Leach-Bliley Act, and any further disclosure or use of the Private Information, other
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~~   than as intended by the Plaintiffs.

22          311.       Plaintiffs are entitled to such relief as is set forth in this Cause of Action and
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     such further relief as is set forth below in the section captioned Prayer for Relief which is by this
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     reference incorporated herein.
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                                                      81

                                                  COMPLAINT


                                                                                            EXHIBIT 1   -94-
